Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 1 of 70




    EXHIBIT A
      Plaintiff’s First Amended Complaint
                No. 4:22-cv-4120
                    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 2 of 70
2022-SW-0180
WARR
Wa.mint
65815575


~I Illlllllllllllllllllllllllll Ill II      WARRANT NUMBER:


                                         AFFlDA VIT FOR SEARCH WARRANT

            THE ST ATE OF TEXAS                 §

            COUNTY OF FORT BEND                 §

            268n1 JUDICIAL DJSTRlCT             §

            The undersigned Affiant, being a peace officer under the laws of Texas, and being duly sworn, on
            oath makes the following statem.ents and accusations:

            I. THEll& IS IN !<~ORT BE          J) COUNTY       A SUSPECTED J>LACE AND PREMIS'Jl:S
            DESCRIBED AS FOLLOWS~

                                                                                          1
             One (1) Black Campro body worn camera tagged into evidence under Tag             umher 210004180
            as Hem Number 3.

            This body worn camera is also referred to in this Aflidavit as SUBJECT BODY WORN CAMERA.

            The SUBil3CT BODY WORN CAMERA is currently located at and/or under the control of the Fort
            Bend County Sheriff's Office, 1410 Richmond Parkway, Richmond, Fort Bend County, Texas. The
            SUBJECT BODY WORN CAMERA is currently located at the Fort Bend County Sheriffs Office
            Evidence Room.

            A photograph of the herein-described body worn camera is embedded below; it is to be considered a
            part of this affidavit and included for all descri tive u oses
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 3 of 70



2. SAID SUSPECTED BODY WORN CAMERA AND PREMISES ARE IN CHARGE OF AND
CONTROLLED BY EACH OF THE FOLLOWING PERSONS:

Eric Fagan, Fort Bend County Sheriff
Justin Pulliam (Owner/Suspect)

3. IT rs THE BELIEF OF THE AFFIANT, AND HE HEREBY CHARGES AND ACCUSES
THAT:

Affiant has reason to believe and does believe that Justin Pulliam (W/M DOB: 11/21/1989),
committed the offense of Interference with Public Duties (PC38.15) when Justin Pulliam did then
and there, while Sergeant Taylor Rollins, a peace officer, was performing a duty or exercising
authority imposed or granted by law, namely responding to a report of a person with homicidal
ideations that was potentially barricaded and/or undergoing severe mental health crisis or securing an
incident scene, with criminal negligence, interrupt, disrupt, impede, or interfere with Sergeant Taylor
Rollins by not following Sergeant Taylor Rollins' instructions to move or causing a delay in Sergeant
Taylor Rollins' ability to secure the scene.

4. THE PROPERTY AND ITEMS WHICH ARE LOCATED AT THE FORT BEND COUNTY
SHERIFF'S OFFICE EVIDENCE ROOM, AND CONSTITUTE EVIDENCE OF DESCRIBED
OFFENSE AND WHICH TEND TO SHOW THAT THE ABOVE DESCRIBED SUSPECT
COMMITTED THE ABOVE DESCRIBED OFFENSE ARE MORE PARTICULARLY
DESCRIBED AS BEING:

The property and items which are located therein and which constitute evidence or instrumentalities of
an offense and which tend to show that Justin Pulliam committed the offense of Interference with
Public Duties (PC38.15) include but are not limited to:

        l. Any photographs, digital images, or video recordings on SUBJECT BODY WORN
          CAMERA that would show Justin Pulliam's participation in the offense of Interference
          with Public Duties occurring on December 21, 2021 in Fort Bend County, Texas, or is
          evidence of the offense of Interference with Public Duties occurring on December 21, 2021
          in Fort Bend County, Texas;
       2. Computer programs or media players capable of viewing, displaying, and/or playing
          photographs, digital images, or video recordings.


AFFIANT HAS PROBABLE CAUSE FOR SAID BELIEF BY REASON OF THE
FOLLOWING FACTS:

Affiant, Detective Travis James, is a credible person and a Texas Peace Officer with the Fort Bend
County Sheriffs Office. Affiant has over twelve (12) years of certified Law Enforcement experience,
including ten (10) years of patrol with certifications in Crisis Negotiations and has been employed as a
commissioned Texas Peace Officer with the Fort Bend County Sheriff's Office for four (4) years.
Affiant is currently assigned as a Detective to the Criminal Investigation Division, Robbery/Homicide
Section.

Affiant's belief that the foregoing facts and allegations are true and correct is based upon his personal
knowledge of this case, including review of Fort Bend County Sheriff's Office Offense Report #21-
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 4 of 70



50633 , and conversations with Sergeant A. Hickey, Sergeant T. Rollins and Deputy R. Rodriguez,
peace officers with the Fort Bend County Sheriffs Office, which collectively reveals the following :

Affiant read Fort Bend County Sheriffs Office Offense Report #21-50633, and learned that on
Tuesday, December 21, 2021, Sergeant Rollins and Deputy Rodriguez were dispatched to 22134 FM
762, Damon, Fort Bend County, Texas in reference to a Check Welfare. Affiant learned from the
report that the situation had evolved into an armed barricaded subject situation.

Affiant read in Sergeant Rollins' report that when Sergeant Rollins arrived on scene, Sergeant Rollins
observed a male subject, who he identified as Justin Pulliam DOB : 11/21/1989, to be recording the
incident with a body worn camera and a handheld camera. Affiant also observed that Sergeant Rollins
notated in his reports that Sergeant Rollins observed Justin Pulliam standing in the direct line of fire.

Sergeant Rollins is known to Affiant as being a member, or former member, of the Fort Bend Co.unty
Regional SWAT team west, and has training in recognizing the danger of Justin Pulliam being in the
direct line of fire of the barricaded subject.

Sergeant Rollins documented in his report that he requested Justin Pulliam move across the street due
to him being in the line of fire of the barricaded person, and that Justin Pulliam initially began to walk
across the street. Affiant read in Sergeant Rollins report that Justin Pulliam stopped, and questioned
Sergeant Rollins reasoning. Affiant read that Sergeant Rollins told Justin Pulliam it was for his
(Pulliam's) safety. Affiant read that Sergeant Rollins told Justin Pulliam again to move across the
street.

In the report, Sergeant Rollins documented that Justin Pulliam refused to comply, and so was placed
into custody for Interference with Public Duties, due to the safety hazard Justin Pulliam posed as well
as causing Sergeant Rollins' attention to be diverted from the barricaded subject while Sergeant
Rollins was attempting to secure the scene. In the report, Sergeant Rollins documented that Justin
Pulliam was placed inside a marked police unit, and that police unit was moved to a safer location.

Affiant then read Deputy Rodriguez's report. In the report, Deputy Rodriguez wrote that as he and
Deputy M. Lacey were securing the perimeter of the incident for the safety of himself and the public,
he observed Justin Pulliam arrive on scene. In the report, Affiant read that Deputy Rodriguez wrote
Deputy Rodriguez saw Justin Pulliam exit a vehicle and begin filming the scene.

Affiant read that Deputy Rodriguez observed Sergeant Rollins speak with Justin Pulliam, and heard
Sergeant Rollins tell Justin Pulliam to leave the location for safety purposes. Affiant read that Deputy
Rodriguez overheard Justin Pulliam argue with Sergeant Rollins. Affiant read that Justin Pulliam was
arrested after Justin Pulliam refused to leave the location.

Affiant read that Deputy Rodriguez seized the handheld camera equipment, cell phone, and Campro
body worn camera (SUBJECT BODY WORN CAMERA) Justin Pulliam was using on scene and
placed all items into the Fort Bend County Sheriff's Office Evidence room. Affiant learned the
Campro body worn camera (SUBJECT BODY WORN CAMERA) was photographed. A photograph
of the Campro body worn camera seized from Justin Pulliam is included below:
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 5 of 70




Affiant learned that the Campro body worn camera (SUBJECT BODY WORN CAMERA) ,._,vas
assigned Tag Number 210004180 and Item Number 3 when booked into the Fort Bend County
Sheriffs Office Evidenc.e Room.

Affiant later contacted and spoke wid1,,Sergeant Rollins. Affian.t was advised that after the detention of
Justin Pulliam, Sergeant Rollins observed the body worn camera Justin Pulliam had been wearing was
on. However, Sergeant Rollinsstatedthat he was not sure if the body \vorn camera was recording.
Sergeant Rollins advised Affiantthatthe handbeld camera was on and recording, as he stopped the
recording and turned the camera off

Sergeant Rollins stated to Affiant that he does not recall if the cell phone was on and recording at the
time of the detention .

Affiant was also advised by Sergeant Rollins that while on scene Justin Pulliam would turn his body
towards Sergeant Rollins whenever Sergeant Rollins was speaking with Justin Pulliam, indicating that
the body worn camera was on and recording.

Deputy Rodriguez also advised Affiant that the two (2) memory cards listed in the property report were
removed from the hand.held camera system. Deputy Rodriguez stated this was dolle to inventory all
property seized during the arrest. Deputy Rodriguez stated to Affiant that he is unaware if there are
any other forms of internal/external memory for the camera system.

Affiant knows that Justin Pulliam on many occasions has arrived at the scenes of police investigations,
filmed what is occurring at tbe scenes using ·equipment capable of making video recordings, and posted
the filmed video footage on social media .

Based on the statements made to Affiant, it is the belief of the Affiant that Justin Pulliam used the
black Campro body worn camera (SUBJECT BODY WORN CAMERA) to record actjvities that were
occurring while he was present located at 22134 FM 1462, Damon, Fort Bend County, Texas. and
therefore the data on the black Campro body worn camera (SUBJECT BODY WORN CAMERA)
will contain evidence of the offense Interference with Public Duties or evidence tending to show that
Justin Pulliam committed the offense of Interference with Public Duties.
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 6 of 70




WHEREFORE, Property CONSIDERED, your Affiant respectfully requests that a warrant issue
authorizing your Affiant or any other Peace Officer of Fort Bend County, Texas, to forensically
download the black Campro body worn camera, which is further described as follows:

       One (1) Black Campro body worn camera tagged into evidence under Tag Number
       210004180 as Item Number 3

to search and seize any data that is evidence of the offense of Interference with Public Duties (PC
38.15) or tending to show that Justin Pulliam committed the offense of Interference with Public Duties
(PC 38.15). Affiant further seeks permission from the court to take and/or store any seized items, to
any location within or outside of Fort Bend County, Texas, to an appropriate setting to be properly
analyzed by a qualified person.



DETECTIVERJ\VIS JAMES, AFFIANT

                             D TO BEFORE ME on this the 14TH day of JANUARY, 2022.



JUD
434 TH JUDI CI    ISTRICT COURT
FORT BEND        UNTY, TEXAS


    ~G[t,.r,~~-,~
PRINTED NAME OF JUDGE
                                       &c_~~




                                                            7022 APf, 13 PM 3: 03
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 7 of 70



                                  WARRANT NUM'.BER:

                                          SEARCH WARRA T
THE STATE OF TEXAS                    §

COUNTY OF FORT BEND                   §

268Tu JUDICIAL DISTRICT               §

THE ST ATE OF TEXAS TO THE SHERlFF OR ANY PEACE OFJ\'TCER OF FORT BEND
COU TY, TEXAS.

       GREETINGS:

        WHEREAS, the Affiant, Detective Travis James. whose name appears on the anidavit attached
hereto (which said affidavit is by this reference incorporated herein for all purposes) is a peace officer
under the laws of the State of Texas, and did heretofore this day subscribe and swear to said. affidavit
before me, and whereas I find that the verified facts stated by Affiant in said affidavi t show that
Affiant has probable cause for the belief he expresses herein and establishes existence of proper
grounds for issuance of this Warrant.

YOU ARE THEREFORE COMMANDED to forthwith enter the premises located at and/or under the
control of the Fort Bend County Sheriff's Office, 1410 Richmond 'Parkwtty, Richmond, Fort Bend
County, Texas, to search and seize the entire contents located within a body worn cameta, to wit:

One (l) Black Cam pro body wor11 camera tagged into evidence under Tag umber 210004180 as
Item Number 3 (ALSO REli'ERRED TO HEREIN AS SUBJECT BODY WORN CAMERA). A
photograph of the herein-described premises is embedded below; it is to be considered a part of thi s
warrant and is included for all descriptive purposes.




At said place, you shall SEARCH AND SEIZE the entire contents located within the SUBJECT
BODY WORN CAMERA and search for and, if found seize and bring before me the property
described in the arfidavit, to wit:
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 8 of 70



       l. Any photographs, digital images, or video recordings on SUBJECT BODY WORN
          CAMERA that would show Justin Pulliam's participation in the offense of Interference
          with Public Duties occurring on December 21, 2021 in Fort Bend County, Texas, or is
          evidence of the offense ofinterference with Public Duties occurring on December 21, 2021
          in.Fort Berrcl County, Texas;
       2. Computer programs or media players capable of viewing, displaying, and/or playing
          photographs, digital images, or video recordings.


         FURTHER, you are ordered, pursuant to the provisions of Article 18. l 0, Texas Code of
Crimin&) Procedure, to retai.n cu~tody of any property seized pursuant to this warrant, until further
order of this court.or any other court of appropriate jurisdiction shall otherwise direct the manner of
safekeeping of said prop.erty. This court grants.you leave and authority to remove such property from
this county if such removal is necessary for the safekeeping of such seized property by you, if such
removal ts otherwise aut_h orized by the provisions of article 18.10, Texas CCP, or lf such rernova.l is
necessary to take and/or store any seized property to an appropriate setting and location to be properly
analyzed by a qualified person. You are further ordered to give notice to the court, as a part of the
inventory to be filed subsequent to the e·x ecution of this warrant, and as required by the article 18.10,
Texas CCP. The execution of said warrant shall be within three whole days, exclusive of the day of its
issuance and the day of its execution, with your return thereon, showing you have executed the same,
filed in this court.

HEREIN FAIL NOT, and return make thereof.

                               on    ·sthe 14TH day of JANUARY, 2022 at                       /I ~'"2Jo'cloc~

HONO
JUDGEPRES       G
434TH JUDICIAL DISTRICT COURT
FORT BEND CO        , EXAS




                                                             1022 APR 13 PM 2: 59


                                                              Ct Ell Vi 0; -:-, : '. .::: ; r ~,, ,., :
                                                                  ...._ ,.. !';'   l : ·-
                                                                                            \i '
.   ;   .       Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 9 of 70




                                      SEARCH WARRANT RETURN AND INVENTORY

            THE STATE OF TEXAS                     §

            COUNTY OF FORT BEND                    §

            268TH JUDICIAL DISTRICT                §


            The undersigned Affiant, being a Peace Officer under the laws of the State of Texas, and being duly
            sworn, on oath certified that the foregoing Warrant came t o hand on the day it w~s issued and that i t
            was executed on the J'11"\,- . day of.,:::;,,.µ...,,s,.~ , 20-Z.;;.. by making the search directed therein
            and by seizing during such search the following·described property, retained by such Peace Officer,
            under the laws-of the State_of Texas, and kept, stored and held as hereinaftet :Set out:




                                          ~
                                          DETECT1VETRAViTAMEs,                  AFFIANT

            SWORN AND SUBSCRIBED TO BEFORE ME on this the _ _ day o f ~ - - - - - -
            20 .




                                                   NOTARY .PUBLIC lN AND FOR THE STATE OF TEXAS
Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 10 of 70




                                                      I, BEVERLEY MCGREW WALKER, District Clerk of Fort Bend
                                                      County,Texas,do hereby certify that the foregoing
                                                      is a true , correct and full copy of the instrument
                                                      herein set out as appears of record in the District
                                                      Court of Fort Bend County, Texas.
                                                      This .L.:J_ day of   N (JvfJJ"\ k1LY 20 2::±:::__



                                                                                          -   --- ---
Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 11 of 70




     EXHIBIT B
      Plaintiff’s First Amended Complaint
                No. 4:22-cv-4120
   Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 12 of 70



                                WARRANT NUMBER:

                        AFFIDAVIT FOR SEARCH WARRANT


THE STATE OF TEXAS                  §

COUNTY OF FORT BEND                 §

268™ JUDICIAL DISTRICT              §

The undersigned Mfiant, being a peace officer under the laws_of Texas, and being duly sworn, on
oath makes the following statements and accusations:

I. THERE IS IN FORT BEND COUNTY A SUSPECTED PLACE AND PREMISES
DESCRIBED AS FOLLOWS:

   (A) one Wise SD style 256gb memory card, silver, black, yellow, blue and white in color
       removed from a black handheld Lumix camera tagged into evidence under Tag Number
       210004180 as Item Number 4.
   (B) one Lexar SD style i56gb memory card, black and white in color removed from a black
       handheld Lumix camera tagged into evidence under Tag Number 210004180 as Item
       Number 5.

These memory cards are also referred to in this Affidavit as SUBJECT MEMORY CARDS.


The SUBJECT MEMORY CARDS are currently located at and/or under the control of the Fort Bend
CoW1ty Sheriffs Office, 1410 Richmond Parkway, Richmond, Fort Bend County; Texas. The
SUBJECT ~MORY CARDS are currently located . at the Fort Bend County Sheriffs Office
Evidence_Room.

A photograph of the herein-described memory cards is embedded below; it is to be considered a part of
this affidavit and included for all descriptive purposes.                    ·




                                                                 21122 - SW - 0184
                                                                 WARR
                                                                 Warrant
                                                        r·- -- . 6587209



                                                       . fIIWlllllll/lllm11mmim
           Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 13 of 70




~      .

"/' ·,/
,
~
      ',
 .-:.~..!...I,

2. SAID SUSPECTED MEMORY CARDS ARE IN CHARGE OF AND CONTROLLED BY
EACH OF THE FOLLOWiNG PERSONS:

Eric Fagan, Fort Bend County Sheriff
Justin Pulliam (Owner/Suspect)

3. IT IS THE BELIEF OF THE AFFIANT, AND HE HEREBY CHARGES AND ACCUSES
T~:                                                         - .

Affiant has reason to believe and does believe that Justin Pulliam (W/M DOB: 11/21/1989),
committed the offense oflnterference with Public Duties (PC38.15) when Justin Pulliam did then
and there, while Sergeant Taylor Rollins, a peace officer, was performing a duty or exercising
authority imposed or granted by law, namely responding to a report of a person with homicidal
ideations that was potentially barricaded and/or undergoing severe mental health crisis or securing an
incident scene, with criminal negligence, interrupt, disrupt, impede, or interfere with Sergeant Taylor
Rollins by not following Sergeant Taylor Rollins' instructions to move or causing a delay i.ri Sergeant
Taylor Rollins' ability to secure the scene.

4. THE PROPERTY AND ITEMS WHICH ARE LOCATED_AT THE FORT BEND COUNTY
SHERIFF'S OFFICE EVIDENCE ROOM, AND CONSTITUTE EVIDENCE OF DESCRIBED
OFFENSE AND WHICH TEND TO SHOW THAT THE ABOVE DESCRIBED SUSPECT
COMMITTED THE ABOVE DESCRIBED OFFENSE ARE MORE PARTICULARLY
DESCRIBED AS BEING:

The property and items which are located therein and which constitute evidence or instrumentalities of
an offense and which tend to show that Justin Pulliam committed the offense oflnterference with
Public Duties (PC38.15) include but are not limited to:

                 1.    Any photographs, digital images, or video recordings on SUBJECT MEMORY CARDS
                      that would show Justin Pulliam's participation in the offense of Interference with Public
                      Duties occurring on December 21, 2021 in Fort Bend County, Texas, or is evidence of the
   Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 14 of 70



          offense of Interference with Public Duties occurring on December 21, 2021 in Fort Bend
          County, Texas;
       2. Computer programs or media players capable of viewing, displaying, and/or playing
          photographs, digital images, or video recordings.


AFFIANT HAS PROBABLE CAUSE FOR SAID BELIEF BY REASON OF THE
FOLLOWING FACTS:

Affiant, Detective Travis James, is a credible person and a Texas Peace Officer with the Fort Bend
County Sheriff's Office. Affiant has over ·twelve (12) years of certified Law Enforcement experience,
including ten (10) years of patrol with certifications in Crisis Negotiations and has been employed as a
commissioned Texas Peace Officer with the Fort Bend County Sheriff's Office for four (4) years.
Affiant is currently assigned as a Detective to the Criminal Investigation Division, Robbery/Homicide
Section.

Affiant's belief that the foregoing facts and allegations are true and correct is based upon his personal
knowledge of this case, including review of Fort Bend County Sheriff's Office Offense Report #21-
50633, and conversations with Sergeant A. Hickey, Sergeant T. Rollins and Deputy R. Rodriguez,
peace officers with the Fort Bend County Sheriff's Office, which collectively reveals the following: .

Affiant read Fort Bend County Sheriff's Office Offense Report #21-50633, and learned that on
Tuesday, December 21, 2021~ Sergeant Rollins and Deputy Rodriguez wer:e dispatched to 22134 FM
762, Damon, Fort Bend County, Texas in reference to a Check Welfare. Affiant learned from the
report that the situation had evolved into an armed barricaded subject situation.

Affiant read in Sergeant Rollins' report that when Sergeant Roll1ns arrived on scene, Sergeant Rollins
observed a male subject, who he identified as Justin Pulliam DOB: 11/21/1989, to be recording the
incident with a body worn camera and a handheld camera. Affiant also observed that Sergeant Rollins
notated in his reports that Sergeant Rollins observed Justin Pulliam standing in the direct line of fire.

Sergeant Rollins is known to Affiant as being a member, or former member, of the Fort Bend County
Regional SWAT team west, and has training in recognizing the danger of Justin Pulliam being in the
direct line of fire of the barricaded subject.

Sergeant Rollins documented in his report that he requested Justin Pulliam move across the street due
to him being in the line of fire of the barricaded person, and that Justin Pulliam initially began to walk
across the street. Affiant read in Sergeant Rollins report that Justin Pulliam stopped, and questioned
Sergeant Rollins reasoning. Affiant read that Sergeant Rollins told Justin Pulliam it was for his
(Pulliam's) safety. Affiant read that Sergeant Rollins told Justin Pulliam again to move across the
street.

In the report, Sergeant Rollins documented that Justin Pulliam refused to comply, and so was placed
into custody for Interference with Public Duties, due to the safety hazard Justin Pulliam posed as well
as causing Sergeant Rollins' attention to be diverted from the barricaded subject while Sergeant
Rollins was attempting to secure the scene. In the report, Sergeant Rollins documented that Justin
Pulliam was placed inside a marked police unit, and that police unit was moved to a safer location.
   Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 15 of 70



Affiant then read Deputy Rodriguez's report. In the report, Deputy Rodriguez wrote that as he and
Deputy M. Lacey were securing the perimeter of the incident for the safety of himself and the public,
he observed Justin Pulliam arrive on scene. In the report, Affiant read that Deputy Rodriguez wrote
Deputy Rodriguez saw Justin Pulliam exit a vehicle and begin filming the scene.

A,.ffiant read that Deputy Rodriguez observed Sergeant Rollins speak with Justin Pulliam,' and heard
Sergeant Rollins tell Justin Pulliam to leave the location for safety purposes. Affiant read that Deputy
Rodriguez overheard Justin Pulliam argue with Sergeant Rollins. Affiant read that Justin Pulliam was
arrested after Justin Pulliam refused to leave the location.

Affiant read that Deputy Rodriguez seized the handheld camera equipment, cell phone, a Campro body
worn camera, and two--(2) SD style 256gb memory cards (SUBJECT MEMORY CARDS) Justin
Pulliam was using on scene and placed all items into the Fort Bend.County Sheriffs Office Evidence
room. Affiant learned the two (2) SD style 256gb memory cards ( one Wise SD style 256gb memory
card, silver, black, yellow, blue and white in color and one Lexar SD style 256gb meniory card, black
and white in color) (SUBJECT MEMORY CARDS) were photographed. A photograph of the two SD
s le memor cards seized from Justin Pulliam is included below:            - - ----- - --
                                                                                                  .:},~0<-
                                                                                                        '
                                                                                                          -~
                                                                                                          "'-"':·:
                                                                                                                     ',;.\_.
                                                                                                                                              .r,
                                                                                                                               •;L.l,/
                                                                                                                               •. ..
                                                                                                                               ,r :. .,   ~

                                                                                                                                ·►y
                                   ::   ·,    . ,1. _ \ .                           ';'~~-.

                                             ..         '
                                                            '
                                                                     .   __,.
                                                                                .
                                                                                      ---~.   '
                                                                ;
                                                                 \       _,...~·
                                                                                        -··




Affiant learned that the Lexar SD Memory Card was assigned Tag Number 210004180 and Item
Number 5 when booked into the Fort Bend County Sheriff's Office Evidence Room. Affiant learned
that the Lexar SD Memory Card was assigned Tag Number 210004180 and Item Number 4 when
booked into the Fort Bend County Sheriff's Office Evidence Room.           ·'


Affiant later contacted and spoke with Sergeant Rollins. Affiant was advised that after the detention of
Justin Pulliam, Sergeant Rollins observed the body worn camera Justin Pulliam had been wearing was
on. However, Sergeant Rollins stated that he was not sure if the body worn camera was recording.
Sergeant Rollins advised Affiant that the handheld camera was on and recording, as he stopped the
recording and turned the camera off.

Sergeant Rollins stated to Affiant that he does not recall if the cell phone was on and recording at the
time of the detention.
   Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 16 of 70



Aili.ant was also advised by Sergeant Rollins that while on scene, Justin Pulliam would tum his body
towards Sergeant Rollins whenever Sergeant Rollins was speaking with Justin Pulliam, indicating that
the body worn camera was on and recording.

Deputy Rodriguez also advised Affiant that the two (2) memory cards listed in the property report were
removed from the handheld camera system. Deputy Rodriguez stated this was done to inventory all
property seized during the arrest. Deputy Rodriguez stated to Affiant that he is unaware if there are
any other forms of internal/external memory for the camera system.

Affiant checked the online listing for.the type of handheld camera that Justin PuBiam was using, and it .
appears that there is no int_emal memory system for a Panasonic Lumix S 1 handheld camera.
However, Affiant observed that there are two (2) digital media slots compatible for SD style memory
cards. (Online description of memory storage for Panasonic Lumix Sl camera pictured below)


 DUAL MEMORY CARD SLOTS
 the LUMIXS1 is equipped wlth a double Memory Card slot compatlbJe.with SD (UHS-
 I1) and XQD Memory Cards for hig~-speed, high-capacity continuous data .recording.
·users can flexibly d100s.e _the reco·rdin·g method from Refay Recordln°g, B"ackup .
 Recordin~ or AUocation Rec-ording using the double slots. It wil I also be compatible _
 with CFexpress ln the near future. The 7~2-V 3,_100 mAh high-capacity battery can be
 quickly charged via US.B PD {USB .Power Delivery) using the bun.dledUSB3.1Type-t
 cable.And It also reallz~~ high-speed data transfer.


Affiant knows that Justin Pulliam on many occasions has arrived at the scenes of police investigations,
filmed what is occurring at the scenes using equipment capable of making video recordings, and posted
the filmed video footage on social media.

Based on the statements made to Affiant; it is the belief of the Affiant that Justin Pulliam used a black
Lumix handheld camera which contained the SUBJECT MEMORY CARDS to record activities that
were occurring while he was present located at 22134 FM 1462, Damon, Fort Bend County, Texas,
and therefore the data on the SUBJECT MEMORY CARDS will contain evidence of the offense
Interference with Public Duties or evidence tending to show that Justin Pulliam committed the offense
of Interference with Public Duties.


WHEREFORE, Property CONSIDERED, your Affiant respectfully requests that a warrant issue
authorizing your Affiant or any other Peace Officer of Fort Bend County, Texas, to forensically
download the SUBJECT MEMORY CARDS, which are further described as follows:

   (A) one Wise SD style 256gb memory card, silver, black, yellow, blue and white in color·
       removed from a black handheld Lumix camera tagged into evidence under Tag Number
       210004180 as Item Number 4.
   (B) one Lexar SD style 256gb memory card, black and white in color removed from a black
       handheld Lumix ca_m era tagged into evidence under Tag Number 210004180 as Item
       Number 5.
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 17 of 70



 to search and seize any data that is evidence of the offense oflnterference with Public Duties (PC
 38.15) or tending to show that Justin Pulliam committed the offense of Interference with Public Duties
 (PC 38.15). Affiant further seeks permission from the court to take and/or store any seized items, to
 any location within or outside of Fort Bend County, Texas, to an appropriate setting to be properly
 anaiyzed by a qualified person.


~d~---~
. DETECTiW~'\ris JAMES, AFFIANT

                  Ll~cn... , .......   BED TO BEFORE ME on this the 14th day of JANUARY, 2022.


 HON~~·~~~-~
 JUDGE RESIDING
 434TH JUDICIAL DISTRICT COURT
 FORT BEND COUNTY, TEXAS

       ~CMtr. s h·CV'\.                          h -e_   c-~

 PRINTED NAME OF JUDGE




       ZOZZ APR I 3 PH 3: O:Z-
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 18 of 70



                                        WARRANT NUMBER:

                                                SEARCH WARRANT
 THE STATE OF TEXAS                         §

 COUNTY OF FORT BEND                        §

 268TH .HmICIAL DISTRICT                    §

 THE STATE OF TEXAS TO THE SHERIFF OR ANY PEACE OFFICER OF FORT BEND
 COUNTY, TEXAS.

         GREETINGS:

         WHEREAS, the Affiant whose name appears on the affidavit attached hereto (which said
 affidavit is by this reference incorporated herein for all purposes) is a peace officer under the laws of
 the State of Texas, and did heretofore this day subscribe and swear to said affidavit before me, and
 whereas I find that the verified facts stated by Affiant in :,aid affidavit show that Affiant has probable
 cause for the belief he expresses herein and establishes existence of proper grounds for issuance of this
 Warrant.

 YOU ARE THEREFORE COMMANDED to forthwith enter the premises located at and/or under the
 control of the Fort Bend County Sheriffs Office, 1410 Richmond Parkway, Richmond, Fort_Bend
 County, Texas, to search and seize the entire contents located within two memory cards, to wit:

    (A) one Wise SD style 256gb memory card, silver, black, yellow, blue and white in color
        removed from a black handheld Lumix camera tagged into evidence under Tag Number
        210004180 as Item Number 4.
    (B) one Lexar SD style 256gb.memory card, black and white in color removed from a black
        handheld Lumix camera tagged into evidence under Tag Number 210004180 as Item
        Number 5.                                          ,
  (ALSO REFERRED TO HEREIN AS SUBJECT MEMORY CARDS)

. A photograph of the herein-described memory cards is embedded below; it is to be considered a part of
  this affidavit and included for all descriptive purposes .
                                                                         .....         ,.     -        -----
                                                                           ·~-.~-~~:
                                                                       .....
                                                                                        ,.
                                                                                        ·,
                                                                                       <'-t




                                                                                                  ~.




                                        .   \/\.       . ..     ~:.
                                ----               ~     --.,---• ..
                               --·r ·
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 19 of 70



 At"said place, you shall SEARCH AND SEIZE the entire contents·located within the SUBJECT
 MEMORY CARDS and search for and, if found, seize and bring before me the property described in
 the affidavit, to wit:

         1. Any photographs, digital images, or video· recordings on SUBJECT MEMORY CARDS
            that would show Justin Pulliam's participation in the offense of Interference with Public
            Duties occurring on December 21, 2021 in Fort Bend County, Texas, or is evidence of the
            offense of Interference with Public Duties occurring on December 21, 2021 in Fort Bend
            County; Texas;
         2. Computer programs or · media players capable of viewing, displaying, and/or playing
            photographs, digital images, or video recordings.



            FURTHER, you are ordered, pursuant to the provisions of Article 18.10, Texas Code of
   Criminal Procedure, to retain custody of any property seized pursuant to this warrant, until further
   order of this court or any other court of appropriate junsdiction shall otherwise d~rect the manner of
   safekeeping of said property. This cotu1 grants you leave and authority to remove such property from
  ·this county if such removal is necessary for the safekeeping of such seized property by you, if such
   removal is otherwise authorized by the provisions of article 18.1.0, Texas CCP, or if such removal is
   necessary to take and/or store any seized ·property to an appropriate setting and location to be properly
   analyzed by a qualified persori. Y ciu are further ordered to give notice to the court, as a part of the
   inventory to be filed subsequent to the execution of this warrant, and as required by the article 18.10,
   Texas CCP. The execution· of said warrant shall be within three whole days, exclusive of the day of its
. issuance and the day of its execution, with your return thereon, showing you have executed the same,
   filed in this court.

 HEREIN FAIL NOT, and return make thereof.

                                         the 14TH day of JANU~Y, 2022 ad 1 -~--Zf'°o'cloc!--.M.



                                 1
  HONORABLE J.     TIAN BECERRA
  JUDGE PRESID
· 434TH JUDICIAL TRICT COURT
  FORT BEND ~OUNTY, TEXAS




                                                                    ·,

                                                                  Ffl E.'D \ff\fv
                                                             ZOZZ APR I 3 PM 2: 59

                                                           ;t4 11r~~~ [½;~
                                                             Clf0R.t'.,.DISTRiCT COURT
                                                               · "' enw co:, TX
     Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 20 of 70



                              WARRANT NUMBER:


                           SEARCH WARRANT RETURN AND INVENTORY

 THE STATE OF.TEXAS                     §

 COUNTY OF FORT BEND                    §

 268TH JUDICIAL DISTRICT                §

  The undersigned Affiant, being a Peace Officer under the laws of the State of Texas, and being duly
  sworn, on oath certified that the foregoing Warrant came to hand on the day it was issued and that it
. was executed on the \"\~ day of .,:)[)-)..9 v b s ~     , 20Z.2,,-by making the search directed therein
  and by seizing during such search the following described property, retained by such Peace Officer,
  under the laws of the State of Texas, and kept, stored and held as hereinafter set out:
  ~o)\W; - ':\:)~/~ ~~,e"'® \\.t> . \J\~w                           ~""




 SWORN AND SUBSCRIBED TO BEFORE ME on this the _ _ day of - - - - - - - ~
 w_.



                                       NOTARY PUBLIC IN AND FOR THE STATE OF TEXAS
Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 21 of 70




                                                     I, BEVERLEY MCGREW WALKER, District Clerk of Fort Bend
                                                     County,Texas,do hereby certify that the foregoing
                                                     is a true , correct and full copy of the instrument
                                                     herein set out as appears of record in the District
                                                     Court of Fort Bend County, Texas.



                                                    l*~
                                                    This   l1_ day of N:Wf JY\ 12.g C

                                                    i..__~-.,~#
                                                        """"
                                                                  By
                                                                       B~
                                                                       ~W
                                                                                 MCG~EWWALKER
                                                                                         Qt
                                                                                               20 2::E:::_



                                                                                                  Deputy

                                                                            Christina Davila
Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 22 of 70




    EXHIBIT C
      Plaintiff’s First Amended Complaint
                No. 4:22-cv-4120
Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 23 of 70
Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 24 of 70
Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 25 of 70




    EXHIBIT D
      Plaintiff’s First Amended Complaint
                No. 4:22-cv-4120
 Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 26 of 70

       JOJ~ ,,5[iJ ✓ Ol1~EARCHWARRANT                                  2022-SW-0178
                                                                       WARR
                                                                       Warrant
                                                                  ;··--- 6585449 .

THE STATE OF TEXAS, COUNTY OF FORT BEND
                                                                  ; Ill Illlllllf    ~ll l l l l l l l~II II Il
TO THE SHERIFF OR ANY PEACE OFFICER OF FORT BEND COUNTY, TEXAS OR
ANY PEACE OFFICER OF THE STATE OF TEXAS, GREETING:

WHEREAS, THE AFFIANT WHOSE NAME APPEARS ON THE ATTACHED AFFIDAVIT
IS A PEACE OFFICER UNDER THE LAws OF TEXAS AND DID HERETOFORE nns
DAY SUBSCRIBE AND SWEAR TO SAID AFFIDAVIT BEFORE ME (WHICH SAID
AFFIDAVIT IS BY REFERENCE INCORPORATED HEREIN AND MADE PART HEREOF
FOR ALL PURPOSES) AND WHEREAS I FIND THAT THE VERIFIED FACTS STATED
BY AFFIANT IN SAID AFFIDAVIT SHOW THAT AFFIANT HAS PROBABLE CAUSE
FOR THE BELIEF EXPRESSED THEREIN AND ESTABLISHES THE EXISTENCE OF
PROPER GROUNDS FOR ISSUANCE OF THIS WARRANT;

NOW THEREFORE, YOU ARE COMMANDED TO ENTER THE SUSPECTED PLACE
AND PREMISES DESCRIBED IN SAID AFFIDAVIT, TO WIT: A MOTOR VEHICLE,
FURTHER DESCRIBED AS:

A motor vehicle described as a white 2014 GMC Sierra displaying TX LICENSE PLATE
          , bearing VIN                          . The said vehicle is registered to Isauro
Trevino                                              . The said vehicle was being driven by
lsauro Trevino (DOB:                ) on March 14, 2022 The said vehicle is currently located in
a secure storage area at Houtex Towing & Recovery


AT SAID PLACES YOU SHALL SEARCH FOR AND, IF SAME BE FOUND, SEIZE AND
BRING BEFORE ME THE PROPERTY DESCRIBED IN THE AFFIDAVIT, TO WIT:

The investigating officers have determined that this vehicle has a device commonly called an
airbag/ electronic control module (Event Data Recorder) that was installed by the manufacturer
that may record certain data, including, but not limited to:
               (1)    The speed the vehicle was traveling for five seconds prior to airbag
               deployment.
               (2)    Engine Cycle Revolutions Per Minute for five seconds prior to airbag
               deployment.
               (3)    Engine throttle pressure for five seconds prior to airbag deployment.
               (4)    Braking information for five seconds prior to point of impact:
               (5)    The driver's safety belt status.
               (6)    Ignition cycles of the vehicle.
               (7)    Change in velocity after airbag deployment.

This information is transmitted to a central communications system. This information is stored in
the device's memory when there is an airbag deployment as there is in this case. This data may
be extracted by a laptop computer containing the appropriate software.

A crash data recorder to include the data contained therein located within the passenger
compartinent, any and all digital control modules, any alcoholic beverage containers/drugs and
        Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 27 of 70

    their contents, receipts for the purchase of any alcoholic beverage/drugs or portion of a container
    or receipt, a weapon, including but not limited to firearms and ammunition and/or parts thereof;
    bodily fluids, including but not limited to blood and DNA; clothing, notes, documents, writings
    and/or personal chattel used in the commission of for the offense of Aggravated Assault as
    referenced herein; Photographs and measurements and/or video recordings of vehicle exterior
    and interior: latent and/or patent prints, fibers, fluids, substances and/or any residual substance
    constituting trace evidence; digital storage and/or communication devices, including but not
    limited to cell phone(s), cameras, computers, digital and/or cassette style voice recorders; data
    retained within and/or transmitted by - any digital storage and/or communication devices,
    including but not limited to cell phone(s), cameras, computers, digital and/or cassette style voice
    recorders; and the airbags.

    This Court grants Affiant's request to have the subject vehicle transported off site for a
    mechanical inspection, to be conducted by a competent mechanic or other knowledgeable
    person.

    FURTHER, YOU ARE ORDERED, PURSUANT TO THE PROVISIONS OF ARTICLE
    18.10, TEXAS CODE OF CRIMINAL PROCEDURE, TO RETAIN CUSTODY OF ANY
    PROPERTY SEIZED PURSUANT TO THIS WARRANT, UNTIL FURTHER ORDER OF
    THIS COURT OR ANY OTHER COURT OF APPROPRIATE JURISDICTION SHALL
    OTHERWISE DIRECT THE MANNER OF SAFEKEEPING OF SAID PROPERTY. THIS
    COURT GRANTS YOU LEAVE AND AUTHORITY TO REMOVE SUCH PROPERTY
    FROM THIS COUNTY IF AND ONLY IF SUCH REMOVAL IS NECESSARY FOR THE
    SAFEKEEPING OF SUCH SEIZED PROPERTY BY YOU, OR IF SUCH REMOVAL IS
    OTHERWISE AUTHORIZED BY THE PROVISIONS OF ARTICLE 18.10, T.C.C.P. YOU
    ARE FURTHER ORDERED TO GIVE NOTICE TO THE COURT, AS A PART OF THE
    INVENTORY TO BE FILED SUBSEQUENT TO THE EXECUTION OF THIS WARRANT,
    AND AS REQUIRED BY THE ARTICLE 18.10, T.C.C.P .. THE EXECUTION OF SAID
    WARRANT SHALL BE WITHIN THREE WHOLE DAYS, EXCLUSIVE OF THE DAY OF
    IT'S ISSUANCE AND THE DAY OF IT'S EXECUTION, WITH YOUR RETIJRN
    THEREON, SHOWING YO~ HAVE EXECUTED THE SAME, FILED IN THIS COURT.


    ISSUED THIS THE                  {l&
                        DAY OF MARCH A.D., 2022, AT                   lo )7 0: CLOCK AM. TO
    CERTIFY WHICH WITNESS MY HAND THIS DAY.




   FILE[l
        APR 12 2022                        L{)."'\
                                                TH DISTRICT COURT
AT-.,,.....,.--!-~~...w..M.                FORT BEND COUNTY, TEXAS


                                               ~cJ,,vn ~~ IY\.. kc...e~
               "'--
CLERK        RT. FORT BENO CO., TX


                                           PRIN      D NAME OF nIDGE
     Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 28 of 70

     STATE OF TEXAS                        §
     COUNTY OF FORT BEND                   §


                                  ORDER FOR SAFEKEEPING OF PROPERTY


         It is further ordered that you may place the property located in the suspected place and
  premises as stated in the search warrant in the custody of the evidence officer, if any, of your
  department, and that said property may be stored for safekeeping in the evidence room of your
  department or in any secure place designated by your department to e-keep evidence.




     FILED                   CD           l{   3"\
                                                 TH DISTRICT COURT
       APR 12 2022                         FORT BEND COUNTY, TEXAS
AT     . ct=~B    ftrv,,
      4:~-"     I
        . 1)/{fJ~t~
             j'
CLERK6i~   co·um: FORT BEND co., TX
                                           PRINTED NAME OF JUDGE
 Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 29 of 70

                          AFFIDAVIT FOR SEARCH WARRANT

STATE OF TEXAS                       §
COUNTY OF FORT BEND                  §

The undersigned Affiant, Alexandria Muellner, being a peace officer under the laws of Texas,
and being duly sworn, on oath makes the following statements and accusations;

1.     THERE IS IN FORT BEND COUNTY A SUSPECTED PLACE AND PREMISES
       DESCRIBED AS FOLLOWS:

A motor vehicle described as a white 2014 GMC Sierra displaying TX LICENSE PLATE
          , bearing VIN                          . The said vehicle is registered to Isauro
Trevino                                              . The said vehicle was being driven by
Isauro Trevino (DOB:                ) on March 14, 2022 The said vehicle is currently located iri
a secure storage area at Houtex Towing & Recovery


2.     SAID SUSPECTED PLACE AND PREMISES ARE IN THE CHARGE OF AND
       CONTROLLED BY EACH OF THE FOLLOWING NAMED PERSONS:

Jaafar Mohammed, Owner of Houtex Towing & Recovery

3.     IT IS THE BELIEF OF AFFIANT, AND AFFIANT HEREBY CHARGES AND
       ACCUSES THAT SAID SUSPECTED PARTY HAS POSSESSION OF AND IS
       CONCEALING IN SAID AUTOMOBILE, PHYSICAL EVIDENCE OF THE
       OFFENSE HEREIN DESCRIBED WHICH CONSTITUTES A VIOLATION OF
       THE LAWS OF TEXAS AND WOULD TEND TO SHOW THAT A SUSPECTED
       PERSON COMMITTED THE OFFENSE, AND IS DESCRIBED AS FOLLOWS:

On Monday March 14, 2022 0756 hours the vehicle described herein: a white 2014 GMC Sierra
displaying TX LICENSE PLATE                , bearing VIN                           , a Black
2013 Honda Civic displaying TX LICENSE PLATE                              , BEARING Vin
                     , were involved in a 2 vehicle crash at Bissonnet St and Castlemont Dr,
Houston, Fort Bend County Texas, which resulted in Bodily Injury to Kyara Cormier.
The investigating officers have determined that this vehicle has a device commonly called an
airbag / electronic control module (Event Data Recorder) that was installed by the manufacturer
that may record certain data, including, but not limited to:
(1) ·     The speed the vehicle was traveling for five seconds prior to airbag deployment.
(2)       Engine Cycle Revolutions Per-Minute for five seconds prior to airbag deployment.
(3)       Engine throttle pressure for five seconds prior to airbag deployment.
(4)       Braking information for five seconds prior to point of impact.
(5)       The driver's safety belt status.
(6)       Ignition cycles of the vehicle.
(7)       Change in velocity after airbag deployment

This information is transmitted to a central communications system. This information is stored in
the device's memory when there is an airbag deployment, as there is in this case. This data may
be extracted by a laptop computer containing the appropriate software.
 Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 30 of 70

A crash data recorder, to include the data contained therein, located within the passenger
compartment, any and all digital control modules, any alcoholic beverage containers/drugs and
their contents, receipts for the purchase of any alcoholic beverage/drugs or portion of a container
or receipt, a weapon, including but not limited to firearms and ammunition and/or parts thereof;
bodily fluids, including but not limited to blood and DNA; clothing, notes, documents, writings
and/or personal chattel used in the commission of for the offense of Aggravated Assault as
referenced herein; Photographs and measurements and/or video recordings of vehicle exterior
and interior: latent and/or patent prints, fibers, fluids, substances and/or any residual substance
constituting trace evidence; digital storage and/or communication devices, including but not
limited to cell phone(s), cameras, computers, digital and/or cassette style voice recorders; data
retained within and/or transmitted by any digital storage and/or communication devices,
including but not limited to cell phone(s), cameras, computers, digital and/or cassette style voice
recorders; and the airbags.

Affiant further requests leave of the court to have the subject vehicle transported off site for a
mechanical inspection to be conducted by a competent mechanic or other knowledgeable person.

4.     AFFIANT HAS GOOD REASON TO BELIEVE, DOES BELIEVE, AND HEREBY
       CHARGES AND ACCUSES THAT:

On or about March 14, 2022, in Fort Bend County, Texas Isauro Trevino, did then and there
operate a motor vehicle in a public place and intentionally struck the victim's vehicle multiple
times, causing bodily injury of another, namely, Kyara Cormier, by accident or mistake, to wit:
by driving the motor vehicle into and causing it to collide with a vehicle operated by Kyara
Cormier.

5.     AFFIANT HAS PROBABLE CAUSE FOR SAID BELIEF BY REASON OF THE
       FOLLOWING FACTS AND cmCUMSTANCES:

On Monday, March 14th, 2022 Affiant, Deputy Alexandria Muellner #4072 is a certified peace
officer with the Fort Bend County Sheriff's Office Patrol Division, has been a certified peace
officer for the State of Texas for 3.9 years, is certified in crash.

Affiant bases her observations and opinions on her training and experience, her investigation of
the scene and the reports by Deputy Jason Bulman, is a certified peace officer with the State of
Texas employed by the Fort Bend County Sheriff's Office and is a credible and reliable source.

On March 14, 2022 at approximately 0756 hours, Deputy Jason Bulman was dispatched to
Bissonnet St. and Castlemont Dr., Houston, Fort Bend County, Texas, in reference to a Motor
Vehicle Crash, later determined to be an Aggravated Assault with a Deadly Weapon. Bissonnet
St. is a two-lane roadway that runs west and east. The west and east bound lane is separated by a
grassy media. The lanes in both directions have striped lane markers. Castlemont Dr. is a two
way roadway that intersects with Bissonnet St. Castlemont Dr. has a grassy median and dividing
the roadway into the subdivision.

Affiant learned that the crash involved two (2) vehicles: (1) a white 2014 GMC Sierra displaying
TX LICENSE PLATE                     , bearing VIN                             , driven by Isaura
Trevino who was identified by his TDLIII••• and (2) 2013 Honda Civic displaying TX
LICENSE PLATE                 , BEARING VIN                             , driven by Kyara Cormier
who was identified by her TDL#
 Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 31 of 70


 Upon arrival, Deputy J. Bulman stated that he observed a 2014 GMC Sierra had reaz:-ended the
 back of a 2013 Honda Civic. Deputy J. Bulman spoke with the driver of the 2013 Honda Civic,
 Kyara Cormier (DOB:                       a credible and reliable source and hereafter called the
 "Complainant". Complainant stated the truck wouldn't let her into the line to exit the parking lot, .
 hit her on the left side of her vehicle, and pushed her vehicle out of the way. Complainant stated
 she tried to leave because the driver of the truck was aggressive and she was in fear for her life.
 Complainant stated she turned onto Bissonnet St and was at a stop, in traffic, when the driver of
 the truck struck the back end of her vehicle again and proceeded to ram his truck into the back of
 her vehicle approximately 5 times. Complainant stated she was in pain and also in fear for her
 life.

 Deputy J. Bulman spoke with the driver of the 2014 GMC Sierra, Isauro Trevino (DOB:
      ) hereafter called the "Suspect" who stated the crash occurred in the parking lot when he
 struck the back end of the Honda Civic. Suspect stated he was chasing after her because she was
 leaving the accident. Suspect stated he did hit the back end of the Honda Civic while she was at a
 complete stop near the intersection of Bissonnet St and Castlemont Dr. one time and then his
 foot slipped off the brake pedal and hit the gas pedal, c~using him to hit the back of the Honda
 Civic a second time.

  Deputy J. Bulman observed the Honda Civic to have extensive damage to the rear of the vehicle
  and the 2014 GMC Sierra had come to rest with part of the front end of the truck almost touching
• the back seat in the 2013 Honda Civic. Deputy J. Bulman reviewed surveillance footage of
· Suspect chasing after Complainant after the first crash.

 Affiant is aware that the white 2014 GMC Sierra displaying TX LICENSE PLATE                       ,
 bearing VIN                               that is the subject of this warrant has a device commonly
 called an Event Data Recorder, hereafter EDR. The EDR monitors the airbag / electronic control
 module that monitors various vehicle data in an effort to determine whether a particular event
 warrants deploying the vehicles airbag system. Affiant is further aware that besides monitoring
 various vehicle functions the EDR will retain certain data under two circumstances: 1) in the
 event that the vehicle's airbag is deployed or 2) in a near-deployment event, an event involving a
 significant enough change in velocity to require the system to contemplate deploying the airbag.
 This data includes:
 (1)       The speed the vehicle was traveling for five seconds prior to airbag deployment.
 (2)       Engine Cycle Revolutions Per-Minute for five seconds prior to airbag deployment.
 (3)       Engine throttle pressure for five seconds prior to airbag deployment.
 (4)       Braking information for five seconds prior to point of impact.
 (5)       The driver's safety belt status.
 (6)       Ignition cycles of the vehicle.
 (7)       Change in velocity after airbag deployment.

Affiant knows this information is transmitted to a central communications system and retained
within the vehicle and may be downloaded into a laptop computer for further analysis.

Affiant is seeking this information as the data contained in the vehicle's EDR should be able to
provide evidence of the speed of the white 2014 GMC Sierra displaying TX LICENSE PLATE
          , bearing VIN                           , driven by Isauro Trevino before striking the
black 2013 Honda Civic displaying TX LICENSE PLATE                           , BEARING Vin
                        , driven by Kyara Cormier. Additionally, said data should reveal any
•        Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 32 of 70

     efforts Isauro Trevino made to brake his vehicle prior to the impact of the collisions. Said data
     will contribute to the accuracy of Affiant's investigation of the crash.

     WHEREFORE, Affiant asks for issuance of a warrant that will authorize Affiant and other peace
     officers to search said suspected place and premises for said property desc "bed above and seize
     the same.




     Sworn to and subscribed before me by said Affiant on this the   tcti day of March, 2022

                                   <=:,iwn:zr=;?----
                                        4 '1 ~ District Court
         FILED            CD
                                          Fort Bend County, Texas

           APR 12 2022
    AT      . Cf ::35

              ~JI.FORfe~.
                         A:M.
                                                40vv., ;~b~M, ~
    CLERK~~                 TX            Printed Name of Judge
.   .   .    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 33 of 70

            STATE OF TEXAS                       §
            COUNTY OF FORT BEND                  §


                                            RETURN AND INVENTORY


                The undersigned Affiant, being a Peace Officer under the laws of Texas and being duly
            sworn, on oath certifies that the foregoing evidentiary search warrant came to hand on the day it
            was issued and that it was executed on the    'l\           day of MARCH, 2018 by making the
            search directed therein and seizing during such search the following described property:

                  ~<A l;b~~lo~~ .




            SUBSCRIBED AND SWORN TO before me, the undersigned authority, on this the _ _ __
            day of MARCH 2022.
Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 34 of 70




     EXHIBIT E
      Plaintiff’s First Amended Complaint
                No. 4:22-cv-4120
   Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 35 of 70
                            loZJ.-SvJ . . Dl85'
                 WARRANT NUMBER:                          ?--d-4s-~-33~
THE STATE OF TEXAS                              §     2022-SW-0185
                                                      WARR
                                                §     Warrant
                                                §     8588298
THE COUNTY OF FORT BEND
                                                §
268TH JUDICIAL DISTRICT                         §     Ill I11111111111111111111111111111111111

                           APPLICATION FOR SEARCH WARRANT FOR
                            STORED ELECTRONIC COMMUNICATIONS

       COMES NOW, the State of Texas, by and through the requesting peace officer, Joel Kader, and

requests that a search warrant be signed, pursuant to Arts. 18.02 (13) and 18.21(5A) of the Texas Code of

Criminal Procedure, and, in accordance with, Title 18 United S~tes Code (U.S.C.), 2703(a) requiring the

herein named electronic communications provider to furnish all cellular phone records including:

   I) All account holder inf01mation for the target device with assigned number,                                 ;
       inclusive of all subscriber infonnation, including expanded subscriber information including but not
       limitecl to first, middle, last names, dates of birth, social security numbers, state issued identification
       numbers (regardless of issuing state),_passport numbers, consulate identification numbers, and any
       other identifiers not specifically listed herein that can be used to identify the account holder in
       question. Further this is including any available telephone numbers such Sub accounts or can be
       reached numbers or other methods of contact utilized by said provider to include email addresses,
       twitter handles, Facebook or Instagrarn page link, Google or Google Plus or other un-named social
       media linked to account holder. Twinned or paired devices and their unique identifiers including .the
     · actual phone number, IMSI, IMEi and MAC addresses. IP authentication addresses (including ports
       through the source tn1nsport I.ayer (layer 4), etc., and/or unique account, equipment, and/or network
       addressing, these may include the Electronic Serial Number (ESNs), International Mobile_
       Subscriber Identifier (IMSis), Temporary Mobile Subscriber Identity number (TMSI), International
      Mobile Equipment Identifiers (IMEls), Mobile Equipment Identifiers (MEIDs), Mobile Station
       Identifiers (MSIDs), Mobile Identification Numbei"s (MINs), Mobile Dialed Numbers (MDN),
      Integrated Circuit Card IDs (ICCIDs), Personal Unlocking/Unblocking Codes (PUKs), PINs
      (personal identification numbers), Blackberry PINs (personal iqentification numbers/codes), Apple's
      Unique Device Identifier (ID) (UDID), and/or Media Access Control (MAC) address(es), and all
      billing/payment infonnation and accounts notes, for the specified cellular/wireless telephones, and
      for any other cellular/wireless telephones on the same account as the target numbers.

  2) All stored communication and other files reflecting communications, including but not limited to: the
     content of voice mail messages, electronic mail messages, or text messages [Short Mess;:ige Service
     (SMS) or Multimedi8: Message Service (MMS)] from January 1, 2022 to March 8, 2022, to or
     from wireless telephone number                  ;

  3) All transactional information of all activity of the telephone number                 from January
     1, 2022 to March 8, 2022, whether transmitted to or transmitted from the wireless telephone
     handset associated with                  , including messaging logs, other log files, dates, times,
     methods of connecting, and/or locations. Messaging logs should contain:
         a. Date of message; ·
 Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 36 of 70



       b. Time of message (including time zone);
       c. So~ce of message (i.e. the IlvffiI, IMS!, MEID, and/or ESN associated with the handset
          from which the message originated, the telephone number associated with that handset,
          and the provider associated with that handset; and
       d. Destination of the message (i.e. the IMEI, IMSI, MEID, and/or ESN associated with the
          handset from which the message originated, the telephone number associated with that
          handset, and the provider associated with that handset,

4) All transactional information of all telephone calls originating to or terminating from telephone
   number                 , whether transmitted to or transmitted from the wireless telephone handset
   ~ssociated with               , for a period from January 1, 2022 to March 8, 2022, and

 5) All Call Detail Records (CDRs) associated with                    from January 1, 2022 to March 8,
     2022, including all outgoing and incoming communications (call, text or :MMS detail records)
     combined herein as CDRs, with cell sites for 20, 3G and 4G networks, including all telephone
     numbers (number calling and number called), date and time (including time zone of call or text),
     duration of call, chirp numbers/direct .connects/walkie-talkie/Universal Fleet Mobile Identifier
    (UFMI) numbers, email addresses (electronic mail), Internet Protocol (IP) addresses, World Wide
     Web (www) addresses, dialed/communicated with (outgoing and/or incoming). This includes local
     and long distance telephone connection records, including all text [short message service SMS)]
     detail records, email detail records [including IP (Internet Protocol) logs, email header
     information, and email addresses], IP connection detail records/logs, and video, audio, and/or
    photo image transactions records, such as multimedia messaging service (MMS) (picture/video
    messaging) detail records/logs, sent or received, to provide dates, times, and methods. of
    voicemail access, including all available S87 signaling records of these communications, and,
    records of session times and durations. Cell Sites are required if they are available on any and all
    transactional/addressing and routing data. All cell site activations and sectors for all originating
    (outgoing) and terminating (incoming) calls, together with a complete listing of cell site
    identification number, physical address, latitude & longitude, sector identifiers, and true
    orientations of all cell sites in the market where the telephone handset may be located.

6) Cell sites activations and all registration information, including signal strengths, logs, etc. (if
   obtainable), including any location information delivered to a public safety answering point
   (PSAP) pursuant from a 911 call or derived from any system capable of delivering location
   information to a PSAP from February 1, 2022 to February 3, 2022.

7) Specialized Location Records: All call, text, and data connection location information from
   January 1, 2022 to March 8, 2022 associated. with assigned number,                     , or target
   account. Including, all specialized carrier records that may be referred to as RTI (Real Time
   Tool), PC:MD (Per Call Measurement Data), Network Location Services (NELOS), .Mediation
   Records, Digger Reports, E911, LAC/CID or LTE Site ID to include Switcb/MSC/BSC/Cell
   name and azimuth, as well as Azimuths for the sectors accessed during the communications,
   and/or any historical GPS/Mobile Locate Information which shows OPS location (longitude and
   latitude) and Cell-Site and sector of the device in relationship to the network when connected to
   the network for the above referenced numbers. Any historical geo-location services/global
   positioning system (GPS) data/enhanced 911 (E911) records including but not limited to any
   available ranging data [distance from tower, range to tower (PCMD/RIT/REVEAIJHistoric MLTs,
   TrueCall, TDOA, Timing Advance Ranging Data Information, Timing Advance Records (TA), or
   other similar un-named records held by T-Mo bile USA.
 Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 37 of 70



8) If available, an engineering map; showing all cell-site antenna/tower locations, sectors, azimuths,
   beam widths, pilot PN (pseudo noise) offsets, and true orientations. And, a list of any and all cellular
   sites numbers [Long Term Evolution (LTE) -complete ECG!, CG!, Tracking Area Code (TAC)
   and specific eNodeB and Cell Site, NodeB, Local Area Codes (LACs), Cellular Identifiers (C!Ds),
   intercept access points (!AP) system identities, repolls, switches, etc.], locations, addresses, neighbor
   lists, etc., and/or latitude and longitude of any said sites. Also, that cellular sites lists, including
   latitudes and longitudes, be provided, via electronic mail, or via shipping when email is not available,
   in an electronic format, if available and/or possible. Furthermore, the concerned carrier(s) will
   provide RF (radio frequency) propagation maps/surveys and ·cellular antenna/tower maintenance
   records, and cellular antenna/tower maintenance records procedures, upon request. These
   maps/surveys and m~tenance records will_ be provided in electronic format, such as original color
   forpiat, if available.

9) Should the cellular/wireless number/equipment which is the current target of this Warrant have
   changed, prior to or during the requested period, including the MINs/MSIDs, MDNs, ESNs, MEIDs,
   IMEis, Il\.1Sls, ICCIDs, PUKs, IP addresses, UDIDs, PINs and/or MAC addresses, or combinations
   thereof, have been changed by the subscribers during the period of time(s) covered by this Warrant,
   then this Warrant will apply to any other MINs/MSIDs, MDNs, ESNs, MEIDs, IMEis, IMSis,
   ICC!Ds, PUK.s, IP addresses, UDIDs, PINs, email addresses, and/or MAC addresses. Furthermore,
   the specific manufacturer and model of said handset shall be released to the Affiant and/or the Fort
   Bend County Sherriff's Office.

10) Information regarding whether                    roamed from January 1, 2022 to March 8, 2022,
    including but not limited to if the device associated with             roamed (and what specific
    networks are roamed to/from) from a home/primary network to another network and it is known
    by the home/primary network to what roaming network the devices roamed. This includes the
    last known network registrations/activity. And, if the accounts were active accounts, including if
    the account was inactivated or closed for non-payment, and, how many minutes and/or credits
    remained on prepaid type accounts.

11) Identify the existence of any T-Mobile USA cloud services associated with              and
    provide any data held within the cloud to include SMS, MMS, and email communications from
    January 1, 2022 to March 8, 2022.

12) Retail Outlets or Any Other Entities be ordered to release, upon specific request, all purchase,
    payment (cash, credit, check, prepaid card, etc.), and activation infom1ation (even if through third
    parties) for all target devices, accounts, and subsequent payments, such as prepaid minute cards.
    This includes the specific data, time, location (including the specific store, register, clerk, etc.) that all
    devices, account changes, purchases, payments, etc., occurred. It is also ordered that all involved
    retailers (and neighboring businesses/residences) release any available surveillance video from the
    aforementioned transactions, both from within, and from the outside of the stores, and the area of the
    stores, where any of the aforementioned transactions occurred.

13) That this Warrant be ordered to apply to any and all companies/entities which may provide and/or
    carry wireless/telecommunication services for the target mobile numbers/unique account
    identifiers/equipment, and/or, any other entity who may possess the requested information, such as
    Internet companies/entities. This may be required because of number portability and/or if the
    original carrier was modified due to roaming and/or other considerations/reasons.

14) Provide a detailed definitions page, which identifies all information in the records.
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 38 of 70




        Affiant asserts that the requested records and information from T-Mobile USA, an electronic

communications provider doing business in the State of Texas under a contract or under the terms of a

service agreement with a citizen of the State of Texas, are held in electronic storage by T-Mobile USA.

Affiant further asserts that the requested records and information will constitute evidence that a specific

offense has been committed or will constitute evidence that a particular person(s) committe~ the offense.

        Affiant further requests that the service provider be ordered not to disclose the fact of this

Application or potential Search Warrant as its disclosure coulc;l cause an adverse result for this ongoing

investigation such as flight of the suspect or tampering with evidence.

                                                        I.

        The electronic communications provider is T-Mobile USA, Attn: Custodian of Records,

                                       , a cellular provider.

                                                       II.

        The suspect cellular telephone number is                 .

                                                       III.

                            AFFIDAVIT OF REQUESTING PEACE OFFICER

Affiant, Detective Joel Kader, is a peace officer under the laws of the State of Texas and is currently
employed with the Fort Bend County Sheriffs Office as a Detective. Affiant, Detective Joel Kader, is a
credible person and has been a licensed Texas Peace Officer for over 14 years. Affiant is currently
assigned to the Burglary and Theft Unit of the Fort Bend County Sheriff's Office and is responsible for
and has experience in the investigation of burglary and theft offenses. Affiant is an experienced criminal
investigator, has no criminal record, is credible and reliable, and thus, is worthy of belief.

        Affiant has reason to believe and does believe that the information sought, namely, the release of the
requested cellular phone/landline phoneNoIP phone records, technical information, and technical
assistance constitute evidence of the offense of BURGLARY OF HABITATION or evidence that a
particular person committed the offense of BURGLARY OF HABITATION. In support of its request
for a warrant under Texas Code of Criminal Procedure Articles 18B.351_- 18B.359 and consistent with
Title 18, United States Code sections 3123 & 2703(c)(l)(A) & (d) (directing the furnishing of customer
records and other information and authorizing the disclosure of non-content location-based records),
Affiant in this Affidavit sets forth the specific, articulable, sufficient, and substantial facts cited in this
Affidavit showing that there is probable cause to believe that the customer records and other information
pertaining to the telephone number,                   , likely to be identified through the historical records
of the telephone nwnber,                    , constitute evidence of the offense of BURGLARY OF
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 39 of 70



HABITATION or evidence that a particular person committed the offense of BURGLARY OF
HABITATION.


Affiant's belief that the foregoing facts are true and correct are based upon his personal review of offense
reports, personal investigation, and conference with Fort Bend County Sheriff's Office; Detectives Kirk
Fregia, Sergeant Sean Baudat and Sergeant Daniel Calvillo which collectively reveals the following facts:

On December 7, 2021, Affiant was assigned a burglary that occurred at                                   , Sugar
Land, Fort Bend County, Texas, which was docwnented under Fort Bend County Sheriff's Office Case
Number 21-48094. During a review of the report and crime scene photos, Affiant learned the entry was
made by prying open the door and that the peep hole was missing. Affiant realized there was a trend of
apartment burglaries within Fort Bend County, Texas, over the last several months, with the specific modus
operandi (MO) of pry force entry and with the peep hole on the front door missing or partially unscrewed.
It is Affiant' s.belief that this allows the suspect(s) to see inside of the apartment prior to entry to ensure
there are no residents inside of the apartment at the time.

        On January 14, 2022, Affiant was assigned to investigate a burglary that occurred on January 13,
2022, that occurred at                           , Katy, Fort Bend County, Texas, docwnented under Fort
Bend County Sheriff's Office Case Number 22-1834. Affiant reviewed the report and crime scene photos
and learned that the peep hole was missing and damage to the door frame appeared to be pry force. Affiant
observed the report noted jewelry, clothing, and electronics were stolen.

        On January 18, 2022 Affiant made contact with the complainant from Fort Bend County Sheriff's
Office Case Number 22-1834, Shamecha Smith, who told Affiant she had cameras inside her apartment but
received a notification that her camera was disconnected from the. cloud. Shamecha Smith sent Affiant a
screenshot of the notification that read "Mecha Cameras has been disconnected from the Blink Cloud for 30
minutes". Affiant noticed the notification is time stamped at 2: 16pm leading Affi.ant to believe the burglary
likely occurred around 1:45pm.

Affiant knows there is a Flock License Plate Recognition Camera (LPR) situated on Gaston Rd. just south
of the sole entrance into this apartment complex. Affiant ran a search for vehicles captured on the Flock
LPR camera from about 1:45pm to 2:15pm. During Affiant's review of vehicles captured on the Flock ·
LPR one in particular, a black Lexus with Texas License Plate                 , caught Affiant's attention
because it has only been captured on Flock I.PR a few times in the previous 30 days, suggesting it doesn't
frequent this particular area often. Affiant ran a full search on Texas License Plate           for Flock
LPR hits for the previous 30 days and it showed an "inbound" read at 11 :42am and an "outbound" read at
1:52 pm. The only other Flock LPR hits on this plate within the last 30 days 8;fe within this same area
(Hickory Creek HOA cameras) on January 5, 2021. Affiant did not locate any reported burglaries on
January 5, 2022.

Affiant ran the registration on the vehicle and observed it returned to Kieana Jessie,
               , Houston, Texas, in the north Houston area. At the time Affiant had no fwther information
and just documented the infonnation.

On February 3, 2022, Affiant was reviewing calls for service and learned five (5) apartment burglaries were
reported at an apartment complex located at                       , Stafford, Fort Bend County, Texas, at
apartments                              . These cases are documented under Fort Bend County Sheriff's
Office Case Numbers 22-4542, 22-4548, 22-4557, 22-4565 and 22-4588.
     Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 40 of 70



 During review of the offense report and crime scene photos for Fort Bend County Sheriff's Office Case
 Number 22-4542 for Apartment          Affiant noticed again that a peep hole was missing and there was pry
 force entry at the door. Affiant noted the complainant in the case Derrick Miller stated he left his apartment
 around 3:26pm and returned home by 3:59pm. The report noted Derrick Miller reported seeing a black
 Lexus 4-door sedan with dark tinted windows parked near his vehicle but didn't think anything of it 111e
 report mentions when Derrick Miller returned home and discovered his apartment broken into, he left to go
 tell the Leasing Office and believed he saw the same black Lexus again driving around another apartment
 building within the same apartment complex.

         On Febmary 4, 2022, Affiant made location at                    , Stafford, Fort Bend County, Texas,
 to look for cameras .and try to determine if the cases may be related as all the reports were taken around the
 same time frame.

 While checking the apartments (apartment numbers:                                 ) Affiant noticed the peep
 hole was either completely missing and/or unscrewed and loose confirming Affiant's suspicion all the cases
 are related. Affiant noted the only exception was apartment            where maintenance was already on
 location fixing the door. Affiant spoke with the complainant for this apartment, Trenette Steele, and asked
 about the peep hole and she told Affiant it was loose and was already screwed back in by apartment
 maintenance.

 While checking the area for cameras Affiant was flagged down by a maintenance worker who advised one
 of his workers saw a black Lexus with a regular Texas license plate and a black male who appeared to be
 'chubby' walking around the apartment complex with a bag. Affiant noted this is consistent with the
 Derrick Miller's statement regarding a black Lexus vehicle. The maintenance man stated he has worked at
 the complex for many years and !mows that the black Lexus has not been seen at the apartment complex
 before. A:ffiant did not have any further infonnation on the Lexus.

          On February 24, 2022, Affiant learned from Detective Kirk Fregia that on February 22, 2022, at
  approximately 1753 hours the Fort Bend County Sheri.fr s Office received a call for serVice in reference to a
  burglary of habitation at                                   , Katy, Fort Bend County, Texas, which was
  documented under Fort Bend County Sheriff's Office case number 22-7741. Affiant learned the
· complainant advised she left home around 1000 hours and returned home around 1730 hours and noticed
  the front door was damaged and the apartment was ransacked. The complainant stated several electronics
  were stolen from the residence and was unsure what else was stolen at the time. Affiant learned from
  Detective Fregia he observed in the deputy's photographs the peep hole appeared missing from the
  apartment door.

Affiant learned from Detective Fregia he knew the only way in and out of the apartment complex located at
                  ., Katy, Fort Bend County, Texas, was to pass through a Flock License Plate Reader
camera. Affiant learned from Detective Fregia he conducted a Flock LPR search in the area of
    , Katy, Fort Bend County, Texas, for a black Lexus sedan during the burglary time frame because of his
previous knowledge of a black Lexus sedan being involved in similar recent burglaries at
Stafford, Fort Bend County, Texas. Affiant learned from Detective Fregia that the search resulted in ten
(I 0) matching vehicles passing through those two Flock LPRs in that time :frame. Af-fiant learned Detective
Fregia began research on those ten (10) matching vehicles and learned only one (1) vehicle had a
registration address that did not return in the inunediate area. Affiant learned the vehicle displayed a Texas
License Plate of             and the results show it passing the Flock LPR near the entrance of the apartment
complex at 1343 hours and leaving the area of the apartment complex at 1433 hours. Affiant learned
Detective Fregia did a look up search on Flock for that license plate and learned it has never hit those same
Flock LPRs in the past thirty (30) days which is the length of time Flock saves LPR hits.
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 41 of 70




        Affiant learned from Detective Fregia he ran the license plate registration for Texas           and
learned it was registered to Kieana Jessie,                                  , Houston, Texas. Affiant then
realized this was the same Lexus sedan that Af:fiant researched on January 18, 2022.

On February 24, 2022, Affiant and Detective Fregia went to the apartment complex located at
     , Stafford, Fort Bend County, Texas, and spoke to the maintenance worker identified as Eliecer
Meneses who saw the burglary suspect and the black Lexus vehicle the suspect was using. Affiant showed
Eliecer Meneses a Flock LPR photograph of the black 2014 Lexus ES3 bearing Texas License Plate
           and Eliecer Meneses told Affiant with certainty that was the suspect vehicle he saw the day of
the burglaries. Eliecer Meneses speaks only Spanish and translation was done by Fort Bend County
Sheriff's Office Detective Sergeant Daniel Calvillo.

On February 26, 2022, Affiant learned from Detective Fregia he made contact with the Harris County
Precinct 4 Constable's Office to inquire if any traffics stops or contact has been made by their agency on the
Lexus passenger car displaying Texas license plate                  . Detective Fregia informed Affiant he
learned the registered owner, Kieana Jessie, was stopped on a traffic stop in January 2022, and provided a
home address during the stop as                   , Houston, Texas. Affiant leame;d from Detective Fregia a
search was conducted by Harris County Precinct 4 Constable's Office on Kieana Jessie's name and located
a report from August 20, 2020, in which Kieana Jessie and her boyfriend identified as Reginald Jackson-
Louis (DOB            ) were stopped by Harris County Sheriff's Office and found to be in possession of
stolen property that was taken from an apartment burglary that occurred on August 17, 2020. Affiant
learned from Detective Fregia this report is documented by the Harris County Sheriff's Office under Case
Number 200806393.

Affiant learned on Thursday, March 3, 2022, Detective Fregia made contact with the complainant from the
Harris County Sheriff's Office Case Number 200806393 who was identified as Jhonadab Salazar. Affiant
learned Detective Fregia spoke with Jhonadab Salazar about apartment burglary case. Affiant learned from
Detective Fregia that he asked Jhonadab Salazar if the peep hole from his apartment door was removed
during the burglary of his apartment in August 2020 and Jhonadab informed Detective Fregia that it was
removed from his door by the suspect. Based on the information learned, Affiant and Detective Fregia felt ·
it was likely that Reginald Jackson-Louis was likely the suspect in the aforementioned burglaries we were
investigating occurring in the Fort Bend County Sheriff's Office jurisdiction.

On March 8, 2022, Affiant and Detective Kirk Fregia performed a surveillance operation on the black
Lexus ES3 displaying Texas license plate           . Affiant and Detective Fregia surveilled the vehicle to
an apartment complex in the Cypress area identified as the                                  loc.ated at
                  , Cypress, Texas 77433. Affiant observed the vehicle entered the apartment complex
around 11 :22am and left the area ar01.md 11 :36am. Af.fiant observed the vehicle drive through the
apartment complex parking lot and parked in several different spots before leaving the area.

Affiants knows from experience in prior serial apartment burglary investigations the behavior of parking in
multiple locations within a complex is consistent with suspects performing pre-burglary surveillance of a
complex to attempt to identify potential victim apartments.

Over the course of approximately three hours, Affiant and Detective Fregia continued to follow the black
Lexus ES3 bearing Texas license plate               while it traveled into nine different apartment complexes
in Harris and Fort Bend Counties. In each of the complexes, Affiant observed the suspect to behave as seen
at                         rive, Cypress, Harris County, Texas, by driving through the complex and parking
in several different spots before leaving the area.
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 42 of 70




At approximately 1345 hours, Affiant and Detective Fregia followed the black Lexus ES3 bearing Texas
license plate             to the                     apartment complex located at
     , Richmond, Fort Bend County, Texas. Affiant observed the black Lexus ES3 bearing Texas license
plate             drove through the apartment complex and then parked in front of Building 12 for about 15
minutes before leaving the apartment complex. After the black Lexus ES3 bearing Texas license plate
            left the complex, Affiant learned Detective Fregia went to building 12 where the black Lexus
ES3 bearing Texas license plate                 was parked to attempt to verify if any apartment burglaries
occurred. Affiant learned Detective Fregia located Apartment             with the peep hole missing and pry
markings on the door jam. Affiant learned Detective Fregia attempted to open the door but it appeared to
be still locked a,nd entry was not mad~. Affiant later made contact with the apartment manager Tia Dixon
and learned apartment          is currently vacant and is frequently shown to potential residents and therefore
lmows that the door jam was not damaged and the peep hole was not missing.

While coordinating with Fort Bend Cowity Sheriff's Office Patrol Units, Affiant maintained surveillance on
the suspect vehicle who then traveled to three additional apartment complexes,                 , Richmond,
Texas,                          ., Katy, Texas, and                  , Katy, Texas, while Patrol Units were
being en route to assist in conducting a traffic stop on the black Lexus ES3 bearing Texas license plate
          . At approximately 1444 hours Affiant learned Fort Bend Cowity Sheriff's Office Patrol Deputy
T. Mangum and Patrol Sergeant S. Baudat were able to catch up to and conduct a traffic stop on the black
Lexus ES3 bearing Texas license plate                 in the 1720 blk of Mason Rd, Katy, Harris County,
Texas, just north of the Fort Bend Cowity line. The driver was identified as Reginald Jackson-Louis (DOB
        , Texas Identification Card number•••• the same person from the August 2020 Harris
County Sheriff's Office apartment burglary report that was found to be in possession cif stolen property
from a "peep hole" style burglary.

Affiant and Detective Fregia both arrived at the traffic stop location. While on scene Affiant and Detective
Fregia smelled the overwhelming odor of marijuana emitting from the interior of the black Lexus ES3
bearing Texas license plate            . Affiant and Detective Fregia then located a clear plastic baggy
containing a green, leafy substance believed to be marijuana in plain view in the front, driver's side door
handle pocket Affiant learned from Detective Fregia he later weighed the suspected marijuana at the Fort
Bend County Jail and had a total approximate weight of9 grams.

During a probable cause search of the vehicle a large bucket containing a large amowit of US Coins and a
few Mexican Pesos was located on the backseat driver's side floorboard. Affiant learned from Detective
Fregia he found a silver in color Apple MacBook Air with a name on the log-in screen showing "Steven
Gutierrez" with what appeared to be approximately 50% battery life left. This computer was found on the
backseat passenger side floorboard.

Affiant learned from Detective Fregia he also found a black pry bar sitting on top of the Apple MacBook
Air computer and the items were concealed by a large red jacket Affiant also learned Detective Fregia
found multiple watches, designer shoes, designer shoes and jewelry in the vehicle, consistent with items
that are commonly stolen in apartment burglaries. A:ffiant observed the pry bar had a rectangular end
consistent with markings seen on the door frame from the attempted burglary at
                      , Richmond, Fort Bend County, Texas.              ·

Affi.ant learned Detective Fregia contacted the Harris County Sheriff's Office Fusion Center to inquire if
there were any recent apartment burglaries with the name "Steven Gutierrez" listed as a complainant.
Affiant learned Detective Fregia was informed by the Harris County Sheriff's Office Fusion Center that
"Steven Gutierrez" was the listed complainant in Harris County Precinct 4 Constable's Office case number
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 43 of 70



220300326 which was an apartment burglary which occurred on March 3, 2022, in which an Apple
MacBook Air laptop was among the items stolen.

Affiant made contact with Steven Gutierrez and showed him a photograph of the silver in color Apple
MacBook Air computer that was located within Reginald Jackson-Louis' vehicle during the traffic stop and
he confirmed to Affiant that was indeed his computer stolen during the burglary of his apartment on March
3, 2022, which was documented unde~ Harris County Precinct 4 Constable Office case number 220300326.
Affiant also learned from Steven Gutierrez that the peep hole of his apartment door was popped out during
the burglary. Affiant learned Steven Gutierrez stated the Apple MacBook Air was valued at approximately
$999.00.

Affiant was ·able to ascertain the phone because it was in the vehicle Reginald Jackson-Louis was driving at
the time of the traffic stop.

       Based on the above facts that Reginald Jackson-Louis attempted to enter into an apartment that is
adapted for the overnight accommodation of persons and with intent to commit theft, was in possession of a·
crow bar adapted for use as a tool to burglarize an apartment, was in possession of marijuana and was in
possession of stolen property, Reginald Jackson-Louis was placed into custody and transported to the Fort
Bend County Jail where he was booked in for Attempted Burglary of a Habitation (3rd Degree Felony),
Possession of Criminal Instrument (State Jail Felony), Possession of Marijuana < 2 ounces (Class B
Misdemeanor) and Theft of Property >= $750 < $2,500 (Class A Misdemeanor).

On March 11, 2022 Affiant obtained a search warrant to search Reginald Jackson-Louis' Apple !Phone
that was signed by Judge Lisa Gonzalez of the 268th District Comi, Fort Bend County.
On March 11, 2022 Affiant learned from Detective Kirk Fregia he performed a forensic download of
Reginald Jackson-Louis' Apple Iphone using the Cellebrite 4PC Software.
Affiant learned from Detective Fregia during review of text and chat messag~ threads and photographs
within the phone, stolen property dating as far back as June 17, 2019 was located. Affiant viewed a
photograph in a message thread that showed a blue Glock 43 pistol that displayed Serial Number
           . Affiant learned Detective Fregia ran Serial number             in the TCIC/NCIC Computer
database it returned stolen out of the Tomball Police Department under Tomball Police Department Case
Number 190617-009.

On March 15, 2022 Affiant conducted research of the Fort Bend County Sheriff's Office Reporting
System and performed a keyword search for Burglaries where the word "Peephole" had the word
peephole referenced.

Affiant located a Burglary of Habitation Report documented under Fort Bend County Sheriff's Office
Report Number 18-42349 that occurred at                                  , Katy, Fort Bend County,
Texas.

During review of Fort Bend County Sheriffs Office report number 18-42349 Affiant learned a burglary
occurred and there was pry force to the back door and the peephole on the front door was pushed out.
Affiant learned jewelry, a watch, and small electronic was stolen.

Affiant lrnows by speaking with Detective Fregia this is the same address,                , Katy, Fort
Bend County, Texas is linked to a burglary with this same Modus Operandi that was committed by
Reginald Jackson-Louis. Affi.ant learned from Detective Fregia that an arrest warrant was issued by
   Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 44 of 70



Judge Robert Rolnik of the 458 th District Court on March 17, 2022 related to the burglary mentioned
above from January 22, 2022 and documented under Fort Bend Cotlllty Sheriff's Office Case Number
22-7741 that occurred at               , Katy, Fort Bend County, Texas.

Affiant learned the phone number for Reginald Jackson-Louis' Apple Iphone is                   as
provided by the forensic download of the cell phone. On March 16, 2022 Affi.ant ran a phone number
lookup search through www.zetx.com that shows the phone number is a T-Mobile phone number
assigned to Kieana Jessie, who Affiant knows from his investigation is the girlfriend of Reginald
Jackson-Louis and the registered owner of the Lexus car with Texas License Plate             .

 On March 17, 2022 Affiant spoke with Ashley Coggins an Investigator with.T-Mobile who informed
·Affiant phone number               was opened in January 2022.

On March 17, 2022 Affiant obtained a copy of Tomball Police Department Case Number 190617-009
and reviewed the report. Affiant learned the gun was stolen from an apartment during a Burglary. The
report noted a witness observed a black male about 5 feet 10 inches tall and 200 pounds walking down
the stairs with property. Affiant observed this description is consistent with Reginald Jackson-Louis'
physical characteristics.

Based on the above facts, Affiant has probable cause to believe that Reginald Jackson-Louis has been
involved in Burglary of Habitations all over the Houston Metropolitan Area for the past several
years. Therefore, Affiant has probable cause to obtain an extended period of cell phone records
for phone number                 and that the records will likely produce evidence that tends to show
Reginald Jackson-Louis' involvement in the offenses of BURGLARY OF HABITATION.

   Affiant has both training and experience in the investigation of crimes involving the use of wireless
communications services. Affiant's knows the following through training, experience, and knowledge:

1. Wireless communication service providers, such as T-Mobile USA, facilitate wire and electronic
   communications among wireless communication devices. Such devices are most often mobile
   telephone devices ("mobile phones"), but they can include wireless networking cards that
   interoperate with personal computers and similar devices. Such communications can include both
   voice communications and data services.

2. Wireless communication devices can be identified in a number of ways. One way is by reference to
   the current telephone number assigned to that device by the wireless provider. Because wireless
   providers can change the telephone number assigned to the same wireless device, such devices may
   also be identified by other identification numbers including the International Mobile Equipment
   Identity ("!MEI"), the Mobile identified by the International Mobile Subscriber Identity ("IMSI")
   presently associated with the device. The Mobile Equipment Identifier ("MEID"), or the Electronic
   Serial Number ("ESN'') assigned to the device.

3. Among the services provided by most wireless communication service providers are "Short Message
   Service" ("SMS") and "Multimedia Messaging Service" ("MMS"), which provide the ability to send
   discrete data messages from wireless device to wireless device through one or more wireless
   providers. These can range from short text messages to small audio, video, and image files which
   are communicated among wireless users.
    Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 45 of 70



 4. Typically, these SMS and MMS messages are addressed to a wireless communication device using
    the telephone number currently assigned to that device. Wireless communication service providers
    then cooperatively route the messages to the intended addressee for delivery to that device.

 5. Mobile phones and similar devices may not be continuously communicating with the wireless
    provider's network, as they may be turned off or in a place where service is unavailable.
    Accordingly, SMS and MMS messaging is provided on a "store and forward" basis. Under this
    model, the recipient's wireless provider receives the SMS or MMS message intended for its
    subscriber and stores it temporarily until it can be delivered to the recipient's mobile phone or other
    wireless device when it again is accessible to the network.

6. Even after delivery of the SMS or MMS message to the customer, the wireless communications
   provider may choose to preserve a copy of the message and transactional records associated with the
   message for billing, backup, or record purposes. Providers may keep such records of such messages,
   including the date, time, sender, recipient, and/or content of the message, for a number of days or
   weeks after they have been sent or received by the.wireless customer.

7. Such SMS and MMS messages can be and are used by criminals to transmit relevant information
   about their criminal activities, including information relating to times and places of meetings,
   information and records relating to their criminal and fraudulent activities, and other
   communications to facilitate criminal activity.

8. Wireless providers also generally retain records of their subscribers address, banking, or credit
   information and usage information in order to facilitate billing for usage of the account. This
   information can be useful for identifying individuals using the wireless communications device.


Affiant knows from previous criminal investigations that person(s) participating in the commission of
crimes as detailed herein often communicate with co-conspirators and other third party individuals via
cellular phone communication and said communication(s) can occur prior, during and subsequent to the
commission of the crime. Affiant further knows that cellular handheld devices can establish
communications with area cellular towers for purpose of data transfer in the absence of third party
communication efforts.

      Affiant knows from training and experience that when a cellular telephone or other electronic device
 is turned on to register its availability to receive communications on the network, or when the device
 actually sends or receives communications, it will communicate with a cell tower or satellite within its
radio frequency range. Cellular service providers maintain data that can be used to generally locate a
cellular telephone at a particular point in time. These include ceU- site maps, per call measurement data,
and/or signal testing results for their networks, including round trip signal testing data, that show the
geographical location of all cell sites within its service area. Using the cell site geographical
information or GPS information, officers would be able to determine the physical location of the
individual using a particular cellular telephone. Some cell phones or other electronic communication
devices additionally communicate their physical location, in precise terms (such as longitude and
latitude), to the provider via global positioning system ("GPS") satellite or multilateration (e.g.
triangulated signals off three or more towers) measurements that are shared with or accessible to the
provider owing to software settings and terms of service (TOS) agreements. This information is often
evidence of or pertaining to criminal activity in that it enables law enforcement to locate a suspect at the
time of a crime, either at or away from a crime scene, and can be used to assist and corroborate
surveillance officers' observations and anticipate future movements and locations of the suspect and/or
   Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 46 of 70



his or her criminal associates, by establishing his or her communication and location habit patterns over
time. For example, if the telephone consistently signals the same tower both late at night and in the
early morning hours, it is reasonable to ~on.elude that the suspect is living, sleeping, hiding or working at
a night job in that vicinity.

     In addition, Affiant lmows that T-Mobile USA is a company that provides wireless telephone and
data services to the general public. Among the services commonly offered to wireless phone providers
is the capacity to send short text or multimedia messages (photos, audio, or video) from one subscriber's
phone or wireless device to another phone or wireless device via one or more wireless providers. This
service is often referred to as "Short Message Service" ("SMS") or "Multimedia Messaging Service"
("MMS"), and is often referred to generically as "text messaging" or "wireless messaging." . Based on
Affiant's knowledge and experience, he believes that stored electronic communications, including SMS
and MMS messages that have been sent or received by subscribers, may be stored by T-Mobile USA for
short periods incident to and following their transmission.

       In order to minimize any disruption of computer service to innocent third parties, I-Mobile USA
employees will create an exact duplicate of the text message accounts and files described, including an
exact duplicate of all information stored in the text message accounts and files described therein.

       An exact copy of the warrant will be served to T-Mobile USA personnel, either by telephonic
facsimile transmission or electronic mail (email) transmission, who will be directed to produce those
account records and communications in its possession. The information requested should be readily
accessible to T-Mobile USA by computer search, and its production should not prove to be burdensome.

        Affiant knows the disclosure of transactional and subscriber records and information is regulated
by the Electronic Communications Privacy Act (ECP A), specifically found in Title 18 USC, Section
2701, et seq. The ECPA requires the disclosure of content of an electronic communication held by an
electronic communication or remote computing service pursuant to a state search warrant, and Title 18
USC Section 2703(g), states the presence of an officer is not required for service or execution of a
search warrant issued requiring the disclosure by a provider of electronic communications service or
remote computing service of the contents of an electronic communication.

        Based on the information gathered in this investigation thus far, Affiant feels that the information
provided by T-Mobile USA for records relating to                          could be material to Affiant's
investigation.
  Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 47 of 70




        WHEREFORE, PREMISES CONSIDERED, Affiant respectfully requests that a waiTant issue
authorizing Affiant, or any peace officer of Fort Bend County, Texas, to search the aforesaid location., T-
Mobile USA, Attn: Custodian of Records,                        , Parsipanny, NJ 07054 with authority to
search for and to seize any and all property, items, and contraband set out earlier in this Affidavit.

   ~~
Joel Kader, Af'"'FIANT                                              (

SWORN AND SUBSCRIBED TO BEFORE ME on this the                  -Z,'t ~day of J"1ttu,(/    , 20 z,,~


            ~Md
JUDGE RESIDING
 ~:,'~~ JUDICIAL DISTRICT COURT
FORT BEND COUNTY, TEXAS



PRINTED NAME OF JUDGE




      FILED
            APR 18 2022 CO
 AT              J~~'e,               M
             J. l!Jr J.1,,,_, 41dZ_ •
  CLERK I   Rief COURT, FORT BEND CO., ,x
   Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 48 of 70




                WARRANT NUMBER:             ---=-~-d~--__J4LL-,5~-_'8_.-/_'b_v_
                                                                              · ~-
THE STATE OF TEXAS                             §
                                               §
THE COUNTY OF FORT BEND                        §
                                               §
268n1 JlJDICIAL DISTRICT                       §

                     SEARCH WARRANT COMPELLING THE DISCLOSURE
                        OF STORED ELECTRONIC COMMUNICATIONS


TO THE SHERlFF OR ANY PEACE OFFICER OF THE STATE OF TEXAS:


        WHEREAS, the below signed authority, a Judge of a District CoUJ1 located in Fort Bend County,
Texas, upon proper Application by the State of Texas supported by the sworn Affidavit of the requesting
peace officer, Joel Kader of the Fort Bend County Sheriff's Office, (which said Affidavit is here now made
a part hereof for all purposes and incorporated herein as if written verbatim within the confines of this
Warrant) through which the CoUJt finds specific, articulable, sufficient, and substantial facts establishing
probable cause to believe that the requested records constitute evidence of the offense of BURGLARY Of
HABITATION or evidence that a pat1icular person committeq the offense of BURGLARY OF
HABITATION.

       This Warrant is signed pursuant to A1ticles 18.02(13) and 18.21 (5A) of the Texas Code of Criminal
Procedure and is consistent with Title 18 United States Code (U.S.C.), 2703(c)(2) and Orders the affiant or
any peace officer of the State of Texas to go straightaway and deliver to T-Mobile USA, Attn: C~stodian
of Records,                  , Parsippany, NJ 07054 a copy of this order compelling the release of the
following records and information:

  1) All account holder information for the target device with assigned number,                               ,
     inclusive of all subscriber information, including expanded subscriber information including but not
     limited to first, middle, last names, dates of bi1th, social security numbers, state issued identification
     numbers (regardless of issuing state), passport numbers, consulate identification numbers, and any
     other identifiers not specifically listed herein that can be used to identify the account holder in
     question. Further this is including any available telephone numbers such sub accounts or can be
     reached numbers or other methods of contact utilized by said provider to include email addresses,
     twitter handles, Facebook or Instagram page link, Google or Google Plus or other un-named social
     media linked to account holder. Twinned or paired devices and their unique identifiers including the
     actual phone number, IMSI, IMEi and MAC addresses. IP authentication addresses (including ports
     through the source transpo1t layer (layer 4), etc., and/or unique account, equipment, and/or network
     addressing, these may include the Electronic Serial Number (ESNs), International Mobile
     Subscriber Identifier (JMSis), Temporary Mobile Subscriber Identity number (TMSI), International
     Mobile Equipment Identifiers (IMEis), Mobile Equipment Identifiers (MEIDs), Mobile Station
     Identifiers (MSIDs) 1 Mobile Identification Numbers (MINs), Mobile Dialed Numbers (MON),
     Integrated Circuit Card IDs (ICCIDs), Personal Unlocking/Unblocking Codes (PUKs), PINs
     (personal identification nwnbers), Blackbeny PINs (personal identification numbers/codes), App!e's
     Unique Device Identifier (ID) (UDID), and/or Media Access Control (MAC) address(es), and all
 Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 49 of 70



    billing/payment information and accounts notes, for the specified cellular/wireless telephones, and
    for any other cellular/wireless telephones on the same account as the target numbers.

2) All stored communication and other files reflecting communications, including but not limited to: the
   content of voice mail messages, electronic mail messages, or text messages [Short Message Service
   (SMS) or Multimedia Message Service (MMS)] from January 1, 2022 to March 8, 2022, to or
   from wireless telephone number                  ;

3) All transactional information of all activity of the telephone nwnber                 from January
   1, 2022 to March 8, 2022, whether transmitted to or transmitted from the wireless telephone
   handset associated with                  , including messaging logs, other log files, dates, times,
   methods of connecting, and/or locations. Messaging logs should contain:
       e. Date of message;
       f. Time of message (including time zone);
       g. Source of message (i.e. the IMEI, IMS!, MEID, and/or ESN associated with the handset
           from which the message originated, the telephone number associated with that handset,
           and the provider associated with that handset; and
       h. Destination of the message (i.e. the !MEI, IMS!, MEID, and/or ESN associated with the
           handset from which the message originated, the telephone number associated with that
          handset, and the provider associated with that handset,

4) All transactional information of all telephone calls originating to or terminating from telephone
   number                 , whether transmitted to or transmitted from the wireless telephone handset
   associated with               , for a period from January 1, 2022 to March 8, 2022, and

 5) All Call Detail Records (CDRs) associated with                     from January 1, 2022 to March 8,
     2022, including all outgoing and incoming communications (call, text or MMS detail records)
     combined herein as CDRs, with cell sites for 2G, 3G and 4G networks, including all telephone
     numbers (number calling and number called), date and· time (including time zone of call or text),
     duration of call, chirp numbers/direct connects/walkie-talkie/Universal Fleet Mobile Identifier
     (UFMI) numbers, email addresses (electronic mail), Internet Protocol (IP) addresses, World Wide
     Web (www) addresses, dialed/communicated with (outgoing and/or incoming). This includes local
     and long distance telephone connection records, including all text [short message service SMS)]
   · detail records, email detail records [including IP (Internet Protocol) logs, email header
     information, and email addresses], IP connection detail records/logs, and video, audio, and/or
     photo image transactions records, such as multimedia messaging service (MMS) (picture/video
     messaging) detail records/logs, sent or received, to provide dates, times, and methods of
     voicemail access, including all available SS7 signaling records of these communications, and,
     records of session times and durations. Cell Sites are required if they are available on any and all
     transactional/addressing and routing data. All cell site activations and sectors for all originating
     (outgoing) and terminating (incoming) calls, together with a complete listing of cell site
     identification number, physical address, latitude & longitude, sector identifiers, and true
     orientations of all cell sites in the market where the telephone handset may be located.

6) Cell sites activations and all registration information, including signal strengths, logs, etc. (if
   obtainable), including any location information delivered to a public safety answering point
   (PSAP) pursuant from a 911 call or derived from any system capable of delivering location
   information to a PSAP from February 1, 2022 to February 3, 2022.
 Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 50 of 70



7) Specialized Location Records: All call, text, and data connection location information from
   January 1, 2022 to March 8, 2022 associated with assigned number,                      , or target
   account. Including,     all
                             specialized carrier records that may be referred to as RTT (Real Time
   Tool), PCMD (Per Call Measurement Data), Network Location Services (NELOS), Mediation
   Records, Digger Reports, E91 l, LAC/CID or LTE Site ID to include Switcb/MSC/BSC/Cell
   name and azimuth, as well as Azimuths for the sectors accessed during the communications,
   and/or any historical GPS/Mobile Locate Information which shows GPS location (longitude and
   latitude) and Cell-Site and sector of the device in relationship to the network when connected to
   the network for the above referenced numbers. Any historical geo-location services/global
   positioning system (GPS) data/enhanced 911 (E911) records including but not limited to any
   available ranging data [distance from tower, range to tower (PCMD/RTI/REVEAIJHistoric MLTs,
   TrueCall, TDOA, Timing Advance Ranging Data Information, Timing Advance Records (TA), or
   other similar Wl-named records held by T-Mobile USA.

8) If available, an engineering map; showing all cell-site antenna/tower locations, sectors, azimuths,
    beam widths, pilot PN (pseudo noise) offsets, and true orientations. And, a list of any and all cellular
    sites numbers [Long Term Evolution (LTE) -complete ECGI, CGI, Tracking Area Code (IAC)
    and specific eNodeB and Cell Site, NodeB, Local Area Codes (LACs), Cellular Identifiers (Cills),
    intercept access points (IAP) system identities, repolls, switches, etc.], locations, addresses, neighbor
    lists, etc., and/or latitude and longitude of any said sites. Also, that cellular sites lists, including
    latitudes and longitudes, be provided, via electronic mail, or via shipping when email is not available,
    in an electronic fonnat, if available and/or possible. Furthermore, the concerned carrier(s) will
    provide RF (radio frequency) propagation maps/surveys and cellular antenna/tower maintenance
    records, and cellular antenna/tower maintenance records procedures, upon request. These
    maps/surveys and maintenance records will be provided in electronic format, such as original color
    format, if available.

9) Should the cellular/wireless nwnber/equipment which is the current target of this Warrant have
   changed, prior to or during the requested period, including the MINs/MSIDs, MDNs, ESNs, MEIDs,
   IMEis, IMSis, ICCIDs, PUK.s, IP addresses, UDIDs, PINs and/or MAC addresses, or combinations
   thereof, have been changed by the subscribers during the period of time(s) covered by this Warrant,
   then this Warrant will apply to any other MINs/MSIDs, MDNs, ESNs, MEIDs, IMEis, IMSis,
   ICCIDs, PUKs, IP addresses, UDIDs, PINs, email addresses, and/or MAC addresses. Furthermore,
   the specific manufacturer and model of said handset shall be released to the Affiant and/or the T-
   Mobile USA.

10) Information regarding whether                    roamed from January 1, 2022 to March 8, 2022,
    including but not limited to if the device associated with 346-812-8774 roamed (and what specific
    networks are roamed to/from) from a home/primary network to another network and it is known
    by the home/primary network to what roaming network the devices roamed. This includes the
    last known network registrations/activity. And, if the accounts were active accounts, including if
    the account was inactivated or closed for non-payment, and, how many minutes and/or credits
    remained on prepaid type accounts.

11) Identify the existence of any T-Mobile USA cloud services associated with              and
    provide any data held within the cloud to include SMS, MMS, and email commW1ications from
    January 1, 2022 to March 8, 2022.

12) Retail Outlets or Any Other Entities be ordered to release, upon specific request, all purchase,
    payment (cash, credit, check, prepaid card, etc.), and activation information (even if through third
   Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 51 of 70



        paities) for all target devices, accounts, and subsequent payments, such as prepaid minute cards.
        This includes the specific data, time, location (including the specific store, register, clerk, etc.) that all
        devices, account changes, purchases, payments, etc., occuned. lt is also ordered that all involved
        retailer~ (and neighboring businesses/residences) release any available .surveillance video from the
        aforementioned transactions, both from within, and from the outside of the stores, and the area of the
        stores, where any of the aforementioned ttansactions ·occurred.

   13) That this Wan-ant be ordered to apply to any and all companies/entities which may provide and/or
       cany wireless/telecommunication services for the target mobile numbers/unique account
       identifiers/equipment, and/or, any other entity who may possess the requested information, such as
       Int.em.et companies/entities. This may be required because of number portability and/or if the
       original carrier was modified due to roaming and/or other considerations/reasons.

   14) Provide a detailed definitions page, which identifies all information in the records.



1T IS HEREBY ORDERED that said records are to be delivered to the Applicant/Affiant, Joel Kader at
the Fort Bend County Sheriffs Office, 1840 Richmond Parkway, Richmond, Texas 77469 within 15
business days after the date of service by mail, courier service, or by electronic mail to
JOEL.KADER@FORTBENDCOUNTYTX.GOV.

IT IS FURTHER ORDERED that the requesting law enforcement agency compensate I-Mobile USA at
the prevailing rate for expenses incurred directly relating to compliance with this order.

IT IS FURTHER ORDERED that T-mobile USA, including any of its employees or agents, may not
disclose to any person the existence of this warrant for an indefinite period, as any notification or disclosure
to any person of the existence of this warrant will have an adverse result as defined by Texas Code of
Criminal Procedure (T.C.C.P) Chapter 18.B, Subchapter K, Art 18B.501 and 18 USC 2705b. Irrespective
of California Penal Code Chapter 3.6 Section 1546 et al, this prohibition from notice to ANYONE has no
expiration dfl.te. 1T IS FURTHER ORDERED that T-Mobile USA SHALL notify the submitting agency,_
named inv_estigator, and submitter of this process, in writing, 15 days prior to providing NOTICE to
ANYONE so that additional legal process can be obtained.

IN THE NAME AND BY THE AUTHORITY OF THE STATE OF TEXAS

HEREIN FAIL NOT, as the peace officer to whom this wan-ant is delivered you shall execute it without
delay and within eleven whole days and due return make by faithfully completing the form attached hereto
designated for such purpose.
                                            ;J.
Sl~NED AND ENTERED on this the ?.fl,,.,,.- day of         fl{tiYLvtl-         , 2ol-'l.,/at J:q O'clock
-+-.M.                                                       A4!r ;a_;;
                                                  JUDG~ iSRESIDING

       FILED
           .                        <D
                                                   ~'>~.,,,..DISTRICT COURT
                                                  FORT BEND COUNTY, TEXAS

             APR 18 2022
  AT           .   l \H;t>         -A     M.      PRINTED NAME OF JUDGE
         ~~IC CO'URT, FORT BEND CO.,TX
                   1-t· l    11/ ,1
                   11/{fJ'J.u,,"//'IP'-   .
  CLERK 6j
   Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 52 of 70



                                  BUSINESS RECORDS AFFIDAVIT


 BEFORE ME, the undersigned authority,                    personally   appeared
who, being by me duly sworn, deposed as follows:

  My name i s - - - - - - - ~ I am of sound mind, capable of making this affidavit, and personally
acquainted with the facts herein stated.

I am the Controller and the custodian of the records for
page(s) of records from                                   -----------                 . Attached hereto are
                                                                    These said _ _ page(s) ofrecorqs are
kept by                                              in the regular course of business and it was the regular
course of business of                                                for an employee or representative of
_ _ _ _ _ _ _ _ _ _ _ _ _ __, with knowledge of the act., event, condition, opinion, or
diagnosis, recorded to make the record or to transmit information thereof to be included in such record, and
the record was made at or near the time or reasonably soon thereafter. The records attached hereto are exact
duplicates of the originals.



                                              AFFIANT, Custodian of Records

SWORN TO AND SUBSCRIBED before me on this the_ day of _ _ ___, 20                        .

                                                     NOTARY PUBLIC in and for the
                                                     State of - - - - - - - -
                                                     NOTARY'S PRINTED NAME - - - -- -
                                                     Commission expires:
Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 53 of 70



                   Written Notice of Request for Business Records Affidavit


I, _ _ _Joel Kader_ _ _ _ _ _ _ _ _ _~ am an authorized peace officer in the State
of Texas, and I am serving a warrant for stored customer data or communication pursuant to
Texas Code of Criminal Procedure Chapter 18, Section SA. In addition to the warrant, I am
delivering a business records affidavit form to the provider of an electronic communications
service or the provider of a remote computing service responding to the accompanying warrant.

This writing serves as notice pursuant to Texas Code of Criminal Procedure (T.C.C.P.) Chapter
 18, t4at an executed business records affidavit is required .for the recor.ds that are the subject of
the warrant. Pursuant to T.C.C.P. 18 S(A)(k), the provider shall verify the authenticity of the
customer data, contents of communications, and other information produced in compliance with
the warrant by including with the information the affidavit form. The affidavit form is to be
completed and sworn to by a person who is a custodian of the information or a person otherwise
qualified to attest to its authenticity that states that the information was stored in the course of
regularly conducted business of the provider and specifies whether it is the regular practice of the
provider to store that information.
.     Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 54 of 70




    STATE OFTEXAS                       §
    COUNTY OF FORT BEND                 §
    268TH .nJDICIAL DISTRICT            §



                                       RETURN AND INVENTORY



        The undersigned Affiant, being a Peace Officer under the laws of Texas and being duly sworn, on
    oath certifies that the foregoing evidentiary search warrant came to hand on the day it was issued and
    that it was executed on the      d~           day of     /11cvv             1"       ,
                                                                              2022, by making the search
    directed therein and seizing during su~search the following described property:



            Kader, Joel

            From:                      LERRecords@T-Mobile.com
            Sent                       Friday, March 25, 2022 9:16 AM
            To:                        Kader, Joel
            Suiject                   Tasks for Case Number: 22458335, T-Mobilt US, Inc. Tracking ID: 3715373
            Attachments:               CDR_Mediati ons_3468128774_10563740.lds; 3715373_20220325_ Ctrtificationpdf;
                                       Data_Sessions_l 52617_3468128774.xlsx; SUB_Tibco_3468128774_10563741.xls;
                                      Tim lngAdvance_31020025662292.2_01-15-2022_01 -21-2022._Records.xlsx;
                                      Tim ingAdv ance_3102.00256622922_ 01-22-21:22_ 01-2&-2022._Records .xlsx;
                                      Tim ingAdvance_310200256622922_01-29-2022_ 02-04-2022_Records .xi sx;
                                      Tim ingAdvance_310260256622922_02-0S-2022_02-11-2022._Records.xlsx;
                                      Tim ingAdl/ ance_310200256622922_02- 12-2022._02-1 a;.2022_Records.xlsx;
                                      Tim ingAdvance_310200256622922_ 02-19-2022_02-25-2.022._Records.xlsx;
                                      Tim ingAdv ance_31020025 6622922_ 02-2&-2022._03-04-202.2._Records .xi sx;
                                      Tim ingAcll/ ance_310260256622.92.2_ 03-05-2022._{B- 08-2.022._Records.xl sx; lnterpreti ng
                                      Call Detail Records. 20220225.pdf; Interpreting Data Sesslonsl0220225,pdf;
                                      Interpreting Subscriber Information 20210909.pdf, urc lnt'ormation Sheet 05252018.pdf




                                                 AFFIANT



    S~~~Jl, AND SWORN TO before me, the undersigned authority, on this the                              j J--ri,...    day of
     tAL(L.AU          ,2022.

          ~                               ~
                                       NOTARY PUBLIC OF THE STATE OF TEXAS

                                                     ~~~~~~::~,,,,_     MICHELLE SCHMIDT
                                                    ~~f..•L;·.,(;;~-Notary Public. S1a1e of Texas
                                                    ;"':   ~ .:~:
                                                    ~-;;:,: ... . •~,:' Comm.
                                                                                .
                                                                            Exprres 10·23-2022
                                                     "',,,,~~.~,,,,,   Notary ID 131 76971-8
Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 55 of 70




     EXHIBIT F
      Plaintiff’s First Amended Complaint
                No. 4:22-cv-4120
                Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 56 of 70
2022-SW-0197
WARR                                  7P1.,2·5VV- 0\~1
Warrant

                                WARRANT NUMBER:                ')_t-L{CJ0-0 l 5'
ffiilllll\1111111111~
       '
                      11                          SEARCH WARRANT

    THE STATE OF TEXAS                                    §

    COUNTY OF FORT BEND                                    §

    268m JUDICIAL DISTRICT                                 §

     THE STATE OF TEXAS TO THE SHERIFF OR ANY PEACE OFFICER OF FORT BEND COUNTY,
                                        TEXAS.

    GREETINGS:

    WHEREAS, the Affiant, Detective Christopher Arias, whose name appears on the affidavit attached hereto
    (which said affidavit is by this reference incorporated herein for all purposes) is a peace officer under the laws
    of the State of Texas, and did heretofore this day subscribe and swear to said affidavit before me, and whereas I
    find that the verified facts stated by Affiant in said affidavit show that Affiant has probable cause for the belief
    he expresses herein and establishes existence of proper grounds for issuance of this Warrant.

    YOU ARE THEREFORE COMMANDED to forthwith enter the premises located at and/or under the control of
    the Fort Bend County Sheriff's Office, 1410 Richmond Parkway, Richmond, Fort Bend County, Texas,
    commonly known as the Fort Bend County Sheriff's Office, to search and seize the entire contents located
    within a cellular telephone, to wit: One (1) red Apple iPhone cell phone, Model: XR (also referred to herein as
    "SUBJECT CELLULAR TELEPHONE").                   A photograph (attached exhibit A) of the here-in described
    premises is embedded below; it is to be considered a part of this warrant and included for all descriptive
    purposes. Said photograph (see attached exhibit A) of the SUBJECT CELLULAR TELEPHONE is pictured
    next to the evidence envelope it is currently stored in. Said envelope is marked with the address of the incident
    in question, marker nwnber and date and time of collection, namely, ■■■■■■■■■I marker 13 and
    2/20/21 at 2129." .



     At said place, you shall search and seize records, files, data, instrwnents or instrwnentalities, and evidence
     located within SUBJECT CELLULAR TELEPHONE described as:

               1) Computer hardware and software which can collect, analyze, create, display, convert, store, conceal,
                  or transmit electronic, magnetic, optical, or similar computer impulses or data. Any and all computer
                  system(s) to include input and output devices, electronic storage media, all associated storage media
                  for electronic data.
               2) Any computer files that a.z:e used or may be used in connection with the usage or ownership of
                  SUBJECT CELLULAR TELEPHONE.
               3) A visual image or images contained within the internal memory files of the SUBJECT CELLULAR
                  TELEPHONE that would tend to identify person(s) in possession of the SUBJECT CELLULAR
                  TELEPHONE, show SUBJECT CELLULAR TELEPHONE's participation in the offense of
                  Murder, or is evidence of the offense of Murder.
               4) Records evidencing use or ownership of the SUBJECT CELLULAR TELEPHONE, including, but
                  not limited to, registry and setup information within the SUBJECT CELLULAR TELEPHONE's
                                                                 1
 Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 57 of 70



    operating system and customizations to the SUBJECT CELLULAR TELEPHONE's directory
    structure.
5) Graphic files which are used, or capable of being used, to identify the person(s) in possession of the
    SUBJECT CELLULAR TELEPHONE, including, but not limited to, files formatted as Joint
    Graphic Experts Group (JPEG/JPG), Graphic Interchange Format (GIF), Moving Pictures Expert
    Group (MPEG/MPG) and Audio Video Interactive (AVI), and the data within the aforesaid objects
    relating to said materials.
6) Computer programs capable of viewing graphic files.
7) Text files, including subscriber assigned telephone number, originating (outgoing) or terminating
    (incoming) telephone calls, originating (outgoing) or terminating (incoming) "text messages",
    electronic mail (email), that would tend to identify person(s) in possession of the SUBJECT
    CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's participation in the
    offense of Murder, or is evidence of the offense of Murder.
8) Correspondence, including, but not limited to, electronic mail, chat logs, text messages, electronic
    audio files ("voice notes"), any voicemails stored, and electronic messages that would tend to
    identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show _SUBJECT
    CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the offense of
    Murder.
9) Any and all electronic correspondences, electronic audio files (''voice notes"), notes, letters, address
    books, or other materials that would tend to identify person(s) in possession of the SUBJECT
    CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's participation in the
    offense of Murder, or is evidence of the offense of Murder.
10) Any and all records of Internet History and internet service usage, to include websites visited, search
    terms, favorites and Cookies, from SUBJECT CELLULAR TELEPHONE prior to and after said
    offense was alleged to have been committed that would tend to identify person(s) in possession of
    the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's
    participation in the offense of Murder, or is evidence of the offense of Murder.
l l)Any and all call logs pertaining to the usage of the SUBJECT CELLULAR TELEPHONE, including
    subscriber assigned telephone number, originating (outgoing) or terminating (incoming) telephone
    numbers and calls, and dates and times of incoming and outgoing telephone calls that would tend to
    identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT
     CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the offense of
    Murder.
12)Any photographs, digital images, or video recordings on SUBJECT CELLULAR TELEPHONE that
     would tend to identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show
     SUBJECT CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the
    offense of Murder.
13) Images and all ExIF metadata (such as date, time, GPS locations, etc.) to include geotagging
    information (GPS identification of the location of the depicted image) that would tend to identify
    person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR
    TELEPHONE's participation in the offense of Murder, or is evidence of the offense of Murder.
14) Application programs ("apps") capable of viewing graphic files or videos and any graphic files or
    videos contained within the programs found on the SUBJECT CELLULAR TELEPHONE that
    would tend to identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show
     SUBJECT CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the
    offense of Murder.
15) SMS/MMS messages and attached multimedia files, to include incoming and outgoing
    communication received by or contained on SUBJECT CELLULAR TELEPHONE that would tend
    to identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT
             Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 58 of 70
"


               CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the offense of
               Murder.
           16) WiFi network information, to include SSID (Network name) and GPS information of the network
               used by SUBJECT CELLULAR TELEPHONE that would tend to identify person(s) in possession
               of the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's
               participation in the offense of Murder, or is evidence of the offense of Murder.
           17) E-mails to include incoming and outgoing messages that would tend to identify person(s) in
               possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR
               TELEPHONE's participation in the offense of Murder, or is evidence of the offense of Murder.
           18) Any account information, settings, and saved usage information for any and all installed
               applications, also known as "apps", on the SUBJECT CELLULAR TELEPHONE that would tend to
               identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT
               CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the offense of
               Murder.
           19) Any stored Global Positioning System (GPS) data that would tend to identify person(s) in possession
               of the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's
               participation in the offense of Murder, or is evidence of the offense of Murder.
           20) Contact information including email addresses, physical addresses, mailing addresses, and phone
               numbers that would tend to identify person(s) in possession of the SUBJECT CELLULAR
               TELEPHONE, show SUBJECT CELLULAR TELEPHONE's participation in the offense of
               Murder, or is evidence of the offense of Murder.
           21)Any social media posts or messaging and any images hereto, including but not limited to that on
               Facebook, Twitter, and/or Instagram, that would tend to identify person(s) in possession of the
               SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's participation
               in the offense of Murder, or is evidence of the offense of Murder.
           22) Any records, files, instrumentalities or instruments, and evidence that would tend to identify
               person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR
               TELEPHONE's participation in the offense of Murder, or is evidence of the offense of Murder.

       and to seize the same and bring it before me.

    This Court grants Affiant's request to have the seized items transported off site and/or out of county for forensic
    examination, to be conducted by a competent forensic examiner or other knowledgeable person.

    FURTHER, you are ordered, pursuant to the provisions of article 18.10, Texas Code of Criminal Procedure, to
    retain custody of any property seized pursuant to this warrant, until further order of this court or any other court
    of appropriate jurisdiction shall otherwise direct the manner of safekeeping of said property. This court grants
    you leave and authority to remove such property from this county if such removal is necessary for the
    safekeeping of such seized property by you, if such removal is otherwise authorized by the provisions of article
    18.10, Texas CCP, or if such removal is necessary to take and/or store any seized property to an appropriate
    setting and location to be properly analyzed by a qualified person. You are further ordered to give notice to the
    court, as a part of the inventory to be filed subsequent to the execution of this warrant, and as required by the
    article 18.10, Texas CCP. The execution of said warrant shall be within three whole days, exclusive of the day
    of its issuance and the day of its execution, with your return thereon, showing you have executed the same, filed
    in this court.




                                                             3
      Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 59 of 70




         A:~rt~icl;e;i:D;c;.s;,c~riiprtl\i;o:n:------ ---------------- ----- -


                                                          (:xhibil No.




         , Date found , Locatqd or Developed


      =·· ·..
      i~f-~era Thh;; Artl...   t-   \ Al- ... ,..                    -~--- - - - - - - -·-    ·-




                                                                          CAT. NO. EE6!l




                                                       rn~                  f3

zw                                                                              n
                                                                                ii
-
                                                         E-'lhlbi! "lo   . --

Cl                                                                              d
                                                                                >~

>        ~}k~ ~t~
         D                            or~ e;:ped
                                                                                .i.
                                                                                "' g
                                                                                ~~fi"
                                                                                7. ~


w                                                                               I ;;
         Wtu~re Th,s Arti;;:le Was Fc,und                                              ~---~;;,
                                                                                       ~if~
LU
:E                                                                                     =iiii


ii
c.,                                                                      CAT.   NO. EE69
                                                                                            -·
        .S !AC:Hlll!"'
 Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 60 of 70




HEREIN FAIL NOT, and return make thereof.                   .      r...--:)
                                 1 .~       f\-\cv"(.~
WITNESS MY SIGNATURE on this the_'--\_ day o f ~ 2021. at
                                                                                 a•s3
                                                                                 I·
                                                                                                      ./}_
                                                                                              o'clock .i'1:l&

                                            L~e-CVUl??
                                       JUDGE PRESIDING

                                       lt.CJO'4"'- DISTRiCT COURT
                                       FORT BEND COUNTY, TEXAS

                                            -r;.'01   ~l 'f,.fA- ~<'::K--r
                                       PRINTED NAME OF WDGE




                                                         FILED
                                                                APR 2 8 2022
                                                                        ']~oo              M.
                                                       AT           J,, i/}{ J...., ~{v.__!"
                                                        Cl.ERK ·   Rief COURT, FORT BEND CO.,lX
         Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 61 of 70



                          wARRANT NUMBER:           _2l_-_l{_ao_-_0__l5=_
                                 AFFIDAVIT FOR SEARCH WARRANT


THE STATE OF TEXAS                                  §

COUNTY OF FORT BEND                                  §

268111 JUDICIAL DISTRICT                             §


L THERE IS IN FORT BEND COUNTY A SUSPECTED CELLULAR TELEPHONE AND PREMISES
DESCRIBED AS FOLLOWS:

One (1) red Apple iPhone cell phone, Model: XR. This cellular telephone is also referred to in this Affidavit as
SUBJECT CELLULAR TELEPHONE.

Also see attached Exhibit A, a photograph of the SUBJECT CELLULAR TELEPHONE, pictured next to the
evidence envelope it is currently stored in. Said envelope is marked with the address of the incident in question,
marker number and date and time of collection, namely,                                 marker 13 and 2/20/21 at
2129." I wish to incorporate Exhibit A as part of this sworn affidavit.


The SUBJECT CELLULAR TELEPHONE is currently located at and/or under the control of the Fort Bend
County Sheriff's Office, 1410 Richmond J>arkway, Richmond, Fort Bend County, Texas. The SUBJECT
CELLULAR TELEPHONE is currently located at the Fort Bend County Sheriff's Office Evidence Room. The
subject cellular telephone is currently _located within the 268th Judicial District.

2. SAID SUSPECTED CELLULAR TELEPHONE AND PREMISES ARE IN CHARGE OF AND
CONTROLLED BY EACH OF THE FOLLOWING PERSONS:

Sheriff Eric Fagan, Fort Bend County Sheriff's Office, currently and previously by case Suspect Tyrik R.
Hampton, DOB:         .                                                                            ,
3. IT IS THE BELIEF OF THE AFFIANT, AND HE HEREBY CHARGES AND ACCUSES TH,AT:

On or about, February 20, 2021, in Fort Bend County, Texas, Tyrik Hampton (black male, DOB                  )
did then and there, with intent to cause serious bodily injury to an individual, namely, Simon Simmons B/M -
DOB: -              commit an act clearly dangerous to human life that caused the death of said Simon Simons,
by shooting him in the chest with a handgun.

4. THE PROPERTY AND ITEMS WHICH ARE LOCATED IN THE SUSPECTED CELLULAR
TELEPHONE AND PREMISES WHICH CONSTITUTE EVIDENCE OF THE ABOVE DESCRIBED
OFFENSE, WHICH TEND TO IDENTIFY THE POSSESSOR/OWNER OF THE CELLULAR
COMMUNICATION DEVICE DESCRIBED HEREIN, OR WHICH CONSTITUTE EVIDENCE THAT
THE ABOVE DESCRIBED SUSPECTS COMMITTED THE ·ABOVE DESCRIBED OFFENSE ARE
MORE PARTICULARLY DESCRIBED AS BEING:


                                                         5
        Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 62 of 70



The property and items which are located therein and which constitute evidence or instrumentalities of an
offense and which may tend to identify the rightful owner of herein described communication device include
but are not limited to:

       1) Computer hardware and software which can collect, analyze, create, display, convert, store, conceal,
           or transmit electronic, magnetic, optical, or similar computer impulses or data. Any and all computer
           system(s) to include input and output devices, electronic storage media, all associated storage media
           for electronic data.
       2) Any computer files that are used or may be used in connection with the usage or ownership of
           SUBJECT CELLULAR TELEPHONE.
       3) A visual image or images contained within the internal memory files of the SUBJECT CELLULAR
           TELEPHONE that would tend to identify person(s) in possession of the SUBJECT CELLULAR
           TELEPHONE, show SUBJECT CELLULAR TELEPHONE's participation in the offense of
           Murder, or is evidence of the offense of Murder.
       4) Records evidencing use or ownership of the SUBJECT CELLULAR TELEPHONE, including, but
           not limited to, registry and setup information within the SUBJECT CELLULAR TELEPHONE's
           operating system and customizations to the SUBJECT CELLULAR TELEPHONE's directory
           structure.
       5) Graphic files which are used, or capable of being used, to identify the person(s) in possession of the
           SUBJECT CELLULAR TELEPHONE, including, but not limited to, files formatted as Joint
           Graphic Experts Group (JPEG/JPG), Graphic Interchange Format (GIF), Moving Pictures Expert
           Group (MPEG/MPG) and Audio Video Interactive (AVI), and the data within the aforesaid objects
           relating to said materials.
       6) Computer programs capable of viewing graphic files.
       7) Text files, including subscriber assigned telephone number, originating (outgoing) or terminating
           (incoming) telephone calls, originating (outgoing) or terminating (incoming) "text messages",
           electronic mail (email), that would tend to identify person(s) in possession of the SUBJECT
           CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's participation in the
           offense of Murder, or is evidence of the offense of Murder.
       8) Correspondence, including, but not limited to, electronic mail, chat logs, text messages, electronic
           audio files ("voice notes"), any voicemails stored, and electronic messages that would tend to
           identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT
           CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the offense of
           Murder.
       9) Any and all electronic correspondences, electronic audio files ("voice notes"), notes, letters, address
           books, or other materials that would tend to identify person(s) in possession of the SUBJECT
           CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's participation in the
           offense of Murder, or is evidence of the offense of Murder.
       10) Any and all records of Internet History and internet service usage, to include websites visited, search
           terms, favorites and Cookies, from SUBJECT CELLULAR TELEPHONE prior to and after said
           offense was alleged to have been committed that would tend to identify person(s) in possession of
           the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's
           participation in the offense of Murder, or is evidence of the offense of Murder.
       l l)Any and all call logs pertaining to the usage of the SUBJECT CELLULAR TELEPHONE, including
           subscriber assigned telephone number, originating (outgoing) or terminating (incoming) telephone
          numbers and calls, and dates and times of incoming and outgoing telephone calls that would tend to
          identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT
          CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the offense of
          Murder.
     Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 63 of 70



    12)Any photographs, digital images, or video recordings on SUBJECT CELLULAR TELEPHONE that
        would tend to identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show
        SUBJECT CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the
        offense of Murder.
    13)Images and all ExIF metadata (such as date, time, GPS locations, etc.) to include geotagging
        information (GPS identification of the location of the depicted image) that would tend to identify
        person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR
        TELEPHONE's participation in the offense of Murder, or is evidence of the offense of Murder.
    14) Application programs ("apps") capable of viewing graphic files or videos and any graphic files or
        videos contained within the programs found on the SUBJECT CELLULAR TELEPHONE that
        would tend to identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show
        SUBJECT CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the
        offense of Murder.
    15) SMS/MMS messages and attached multimedia files, to include incoming and outgoing
        communication received by or contained on SUBJECT CELLULAR TELEPHONE that would tend
        to identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT
        CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the offense of
        Murder.
    16) WiFi network information, to include SSID (Network name) and GPS information of the network
        used by SUBJECT CELLULAR TELEPHONE that would tend to identify person(s) in possession
        of the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's
        participation in the offense of Murder, or is evidence of the offense of Murder.
    17) E-mails 'to include incoming and outgoing messages that would tend to identify person(s) in
        possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR
        TELEPHONE's participation in the offense of Murder, or is evidence of the offense of Murder.
    18) Any account information, settings, and saved usage information for any and all installed
        applications, also known as "apps", on the SUBJECT CELLULAR TELEPHONE that would tend to
        identify person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT
        CELLULAR TELEPHONE's participation in the offense of Murder, or is evidence of the offense of
        Murder.
    19)Any stored Global Positioning System (GPS) data that would tend to identify person(s) in possession
        of the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's
        participation in the offense of Murder, or is evidence of the offense of Murder.
    20) Contact information including email addresses, physical addresses, mailing addresses, and phone
        numbers that would tend to identify person(s) in possession of the SUBJECT CELLULAR
        TELEPHONE, show SUBJECT CELLULAR TELEPHONE's participation in the offense of
        Murder, or is evidence of the offense of Murder.
    21) Any social media posts or messaging and any images hereto, including but not limited to that on
        Facebook, Twitter, and/or Instagram, that would tend to identify person(s) in possession of the
        SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR TELEPHONE's participation
        in the offense of Murder, or is evidence of the offense of Murder.
    22) Any records, files, instrumentalities or instruments, and evidence that would tend to identify
        person(s) in possession of the SUBJECT CELLULAR TELEPHONE, show SUBJECT CELLULAR
        TELEPHONE's participation in the offense of Murder, or is evidence of the offense of Murder.


5. AFFIANT HAS PROBABLE CAUSE FOR SAID BELIEF BY REASON OF THE FOLLOWING
FACTS:

                                                  7
        Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 64 of 70




CRIME EVIDEN
Ill I            ~            Ui
~'                             s.c:,

ii              ai5
                 -
                 ::
                              ~
                              !i~
                               ~
                 :"
                 ~
                 i             Qi-




                               i1~1-
                               ~;)J
                               gg_




                                                    tJ

                      I
                                                               ' ,l
                       •J)t,AC N31? :,H:i1Y"lfMl$   _.,:_:,~~Y,~ ;;;i;?~


           lllltll1'11t:·i1r1i~l-,,.e,_mp,,·<·
         Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 65 of 70



AFFIANT'S BELIEF IS BASED UPON THE FOLLOWING FACTS:

A:ffiant, Detective Christopher Arias, is a credible person and a Peace Officer with the Fort Bend County
Sheriffs Office, 1410 Richmond Parkway, Richmond, Fort Bend County, Texas. A:ffiant has been employed
with the Fort Bend County Sheriff's Office for five (5) years as a certified peace officer. Affiant is currently
assigned to the Criminal Investigation Division, responsible for the investigation of robbery and homicide
offenses. Affiant has received training regarding the investigation of offenses against persons, including
assault, robbery, and homicide.

Affiant's belief that the foregoing facts and allegations are true and correct is based upon his knowledge of the
facts surrounding this case through his personal investigation of physical evidence, his review of data contained
within law enforcement indices, and conversations with his co-workers, Criminal Investigation Supervisor,
Sergeant Taylor Rollins, Patrol Sergeant Jason Finberg, Detective Joel Kader, Detective David Williams,
Detective Alexander Hickey, Crime Scene Investigator Glen St. Hilaire, all of whom are Peace Officers
employed with the FBCSO, and Texas Department of Public Safety Trooper Drew Stoner; which collectively
reveals the following:

On Saturday, February 20, 2021, Affiant was the on-call Detective for the Fort Bend County Sheriff's Office.
Robbery - Homicide Unit. At approximately 1743 hours, Affiant received an e - m a i l ~
Sheriff's Office Communications Division regarding a shooting which occurred in the -
                            Affiant began responding to this call and learned the shooting occurred a t -


Affiant arrived on scene and observed a black male, who Affiant later identified as Simon Simmonds (DOB
-             laying on the ground in the supine position in the driveway of
                                     Affiant observed EMS on scene providing medical attention to Simon
Simmonds but he was declared deceased shortly after by EMS. Affiant observed Simon Simmonds to have what
appeared to be multiple gunshot wounds to the chest.

Affiant observed a black female, who Affiant later identified as Krashaun Simmonds (DOB ~ i n g
transported by EMS to a hospital. Affiant later learned from Sergeant Finberg that Krashaun Simmonds was
being transported to Memorial Hermann Downtown due to her suffering a gunshot wound.

Affiant was advised by Sergeant Rollins that Detective Kader conducted a follow-up at Memorial Herman with
Krashaun Simmonds and learned that she suffered a gunshot wound to her back. Detective Kader was able to
get a preliminary statement from Krashaun Simmonds. Krashaun Simmonds stated that she was standing near
the front door of her residence, when she observed Tyrik Hampton shoot at her husband, Simon Simmonds,
multiple times, while in the driveway of the aforementioned residence. Krashaun Simmonds stated Tyrik
Hampton then directed his attention to her at which time she turned and ran into the residence and was shot in
the back by Tyrik Hampton.

Affiant spoke with Trooper Stoner on scene and learned that he was driving by the aforementioned address,
while on duty in his marked Texas Department of Public Safety patrol vehicle, when he on-viewed a black
male, who Affiant later identified as Tyrik Rashad Hampton (DOB                ) standing in the driveway and
shoot at Simon Simmonds multiple times. Trooper Stoner advised that Simon Simmonds then fell to the ground
and Tyrik Stoner ran into the aforementioned residence. Trooper Stoner advised that he exited his marked patrol
vehicle and pursued Tyrik Hampton into the residence where he then placed Tyrik Hampton into custody at
approximately at 1732 hours. Trooper Stoner advised that while in the residence he observed, Krashaun
Simmonds who appeared to have stuffed a gunshot wound as well. Trooper Stoner advised he placed Tyrik
Hampton in the back seat of his marked patrol vehicle.
         Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 66 of 70




Affiant then conducted a custodial interrogation with Tyrik Hampton while on scene. Tyrik Hampton was read
his Miranda Ri hts and he T ·k ·Ham ton waived his rights. Tyrik stated that he does not live a t -
                                                              (offense location). Tyrik Hampton stated that his
place ofresidence is                , Hattiesburg, Mississippi.

Affiant learned from Sergeant Rollins that Detective Kader spoke with Krashaun Simmonds at Memorial
Hermann and she provided a consent to search for her residence located at
                                    ffense location).

Affiant learned from Investigator St. Hilaire that while conducting his crime scene observations he located a red
Apple iPhone Model: XR located within the residence near the front living room that is located closest to the
front door of the residence.

Affiant later conducted a custodial interrogation with Tyrik Hampton at the Fort Bend County Sheriff's Office.
Tyrik Hampton, again, was read his Miranda Rights and he (Tyrik Hampton) waived his rights. Tyrik Hampton
stated he drove, in his Chevrolet Camaro, from his home, which is located at                        , Hattiesburg,
Mississippi to the aforementioned residence to speak with his girlfriend, Karenna Genesis Antwine (DOB
               of two (2) years. Tyrik Hampton stated she is the daughter of Simon and Krashaun Simmonds.
Tyrik Hampton stated he parked his Chevrolet Camaro across the street from the aforementioned residence,
near the mail box. Tyrik Hampton stated before exiting his vehicle, he attempted to call Karenna Antwine, using
his cell phone multiple times but Karenna Antwine did not answer. Tyrik Hampton described his cell phone as a
red Apple iPhone XR. Tyrik Hampton stated he knocked on the front door of the residence and spoke with
Simon Simmonds. Tyrik Hampton stated Simon Simmonds closed the door on him. Tyrik Hampton stated he
then went to Karenna Simmonds vehicle artd took the value caps off her vehicle and went to place them into his
vehicle. Tyrik Hampton described the value caps to be diamond style value caps. Tyrik Hampton stated it was at
that point in time that he retrieved his Glock 48, 9mm pistol from his vehicle. Tyrik Hampton stated he walked
back to Karenna Simmonds vehicle and stood next to it. Tyrik Hampton stated Simon Simmonds then exited the
residence on the phone, with who he believed to be law enforcement, informing them of a domestic violence
incident. Tyrik Hampton stated Simon Simmonds then reached for his waist band, at which time, Tyrik
Hampton stated he displayed his Glock 48 and fired multiple times at Simon Simmonds. Tyrik Hampton stated
he then directed his attention to Krashaun Simmonds, who was standing near the front door of the residence and
fired at least twice at her. Tyrik Hampton stated at which time he retreated into the residence where he was then
placed into custody by Trooper Stoner. Prior to concluding to the interrogation, Tyrik Hampton advised that his
mother name was April Reed and requested I speak with her.

Affiant later spoke with Detective Williams who advised that Fort Bend County Death Investigator Janice
Hutchinson arrived on scene at which time she released the deceased, Simon Simmonds, to be manipulated for
further observations. Detective Williams advised that Simon Simmonds suffered multiple gunshot wounds and
no firearm was located on, near or around his person.

Affiant has training, experience and knowledge that smart phones are capable of storing records of call detail
records or logs, text messages, SMS messages, location detail, and other data. Affiant believes that a search of
SUBJECT CELLULAR TELEPHONE's handheld cellular telephone (SUBJECT CELLULAR TELEPHONE)
contains evidence of Murder. Additionally, Affiant believes that there may be evidence of Murder located on
SUBJECT CELLULAR TELEPHONE. Based on the information received in this investigation thus far, Affiant
believes that the SUBJECT CELLULAR TELEPHONE may contain evidence pertaining to the charge of
Murder, and may contain evidence regarding the identity of the suspect(s).

                                                        9
         Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 67 of 70



Affiant knows from previous Murder investigations that person(s) participating in the commission of
crimes as detailed herein often communicate with co-conspirators and other third party individuals via
cellular phone communication and said communication(s) can occur prior, during and subsequent to the
commission of the crime. Affiant further knows that cellular handheld devices can establish
communications with area cellular towers for purpose of data transfer in the absence of third party
communication efforts.

Affiant is seeking evidence of communications. In my training and experience, suspects communicate with
witnesses, victims, or co-conspirators via phone calls, text messages emails, and social network posts. These
communications often contain direct and indirect statements about crimes. Furthermore, Affiant knows that
communications rarely explicitly mention an intent to commit a crime. Instead, they often allude to such an
intent: "gunna go hustle" for instance may be a declaration of an intent to commit a theft crime, but without
context it is meaningless. In Affiant's training and experience, individuals often use digital devices and cellular
devices to post messages to others on social networking applications. In my training and experience, it is
possible for cellular phone users to use a variety of messaging platforms including SMS, MMS, iChat,
WhatsApp, call logs, and others. Therefore, Affiant seeks to search all the communications evidence on the
device to understand not only what was said, but what was intended and to whom it was said. Affiant is seeking
this information since SUBJECT CELLULAR TELEPHONE was found to be at offense location. Therefore,
Affiant is seeking all the above evidence to establish communications between SUBJECT CELLULAR
TELEPHONE and any witnesses and the victim related to the crime of Murder, as referenced by the Suspect in
his statement to law enforcement.

Affiant is seeking specific evidence related to this case. In addition to the previous information, Affiant
believes the OPS location, financial information, cookies, bookmarks, web history, search terms and internet
search history, photos/videos, communications on digital devices and cellular devices may contain relevant
evidence such as the OPS location of the phone and/or suspect at or around the time of Murder, map directions,
search and internet history that docwnent where the suspect was before, during, and after the time of the
Murder. Affiant is seeking specific evidence of phone calls, emails, text messages, and other communications
that are evidence of the crime of Murder, including but not limited to evidence related to any internet search
history. Therefore, by this warrant Affiant is seeking permission to search all the metadata, file data, setting
data, photographic and video data, OPS location, financial information, cookies, bookmarks, web history,
search terms and internet search history, photos/videos, communications on digital devices, and communication
data on any digital device to seize any data that relates to the offenses of Murder.

Affiant is seeking evidence of association. Affiant knows that establishing the association of suspects,
witnesses, and victims is important in proving motive or a relationship between people. In Affiant's training
and experience, some of the best ways of linking suspects, witnesses, and victims together is by searching the
calendar, contacts, photo gallery, communications, application data, call logs, and social networking
connections. In Affiant's training and experience, when two or more individuals are in photographs together it
demonstrates a mutual relationship. In A:ffiant's training and experience, associates communicate together via
phone calls, text messages and emails, therefore Affiant is seeking the communications evidence to demonstrate
the associations and relationship between SUBJECT CELLULAR TELEPHONE and the Decedent, and any
unknown witnesses or suspects. In Affiant's training and experience, a user's "connections," "buddies," and/or
"friends," on social networking sites is indicative of who their associates are.

Affiant is seeking evidence of location. In Affiant's training and experience, cellular devices track historical
locations in multiple ways, OPS location, wi-fi transmissions, metadata attached to files, cellular tower
connections, and application data. Affiant is aware that SUBJECT CELLULAR TELEPHONE was found to be
at the offense location, which can show SUBJECT CELLULAR TELEPHONE respective locations prior to
being in contact with the Fort Bend County Sheriff's Office, Suspect T. Hampton's travel routes and timing
         Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 68 of 70



leading up to the Suspect T. Hampton arriving at the crime. scene Therefore, Affiant is seeking permission to
search all OPS location, wi-fi transmissions, metadata attached to files, cellular tower connections, and
application data.

Affiant is seeking evidence of ownership, use, and identification. Affiant knows that ownership and control
of a digital device can be placed at issue through a simple denial, "that is not my phone." In my training and
experience, some of the best ways to establish control are by searching the calendar, contacts, photo gallery,
communications, settings, and social networking activity. The calendar often contains appointments specific to
an individual such as birthdays and doctor's appointments. Contacts often contain friends and associates
specific to an individual such as mom, dad, dentist, etc. A photo gallery often contains selfie photos that clearly
depict the owner/holder of the phone. Communications via text messages, emails, and voicemails often identify
the sender/recipient by name, additionally the context of the communications often identify the sender and/or
recipient. Settings often contain user names, addresses, and phone numbers, wi-fi network tables, associated
wireless devices (such as known wi-fi networks and Bluetooth devices), associated connected devices (such as
for backup and syncing), stored passwords, and user dictionaries that can identify the owner/user of the device.
Therefore, Affiant is seeking all of the above information to establish ownership and control of the device.

Affiant knows, based upon his training and experience and in conversation with other Peace Officers
experienced in Digital Investigations that the types of cellular multi-media devices (cell phones) including the
device as described in above are capable of sending, receiving and storing digital images, films and signals.
Affiant further knows based upon his training and experience, that information such as emails, text messages,
call logs, voice messages, photographs, visual images, contacts, and other data are routinely stored on these
types of devices. Affiant also knows from his training and experience that with the advances of modem
technology, it is very easy for an individual to store and transport digital images in cellular multi- media
devices, including in cellular phones, that are often taken with the individual (on their person) or kept in the
individual's vehicle.

Affiant knows from previous investigations, subscribers of cellular telephones typically communicate with
other cellular telephone subscribers by the use of written "text messages", in addition to oral conversations.
These text messages are typically stored within the cellular telephone handset. Investigators are usually unable
to obtain the contents of these text messages directly from the cellular telephone companies due to extremely
short data retention periods of these text messages on the cellular telephone company's network servers.
Affiant believes information and records contained within SUBJECT CELLULAR TELEPHONE will aid
Affiant in identifying the rightful owner of the SUBJECT CELLULAR TELEPHONE, assist in locating and
identifying additional victims of criminal offenses described herein and identify anyone with whom
communications were made with SUBJECT CELLULAR TELEPHONE prior to, during the commission of
criminal offenses, such as Murder, and shortly after the commission of criminal offenses.

Affiant knows based upon his training and experience, that in order to fully and reliably retrieve the information
from such devices a forensic examination of each individual device by a specially trained forensic
analyst/examiner utilizing specialized equipment is required.

Affiant knows based upon his training and experience that artifacts located within cellular smart phones often
stores the names and or identifiers of people who own and operate the device. This information is used for
indicia of ownership to establish the identity of the person(s) in control of the device(s).

Affiant knows based upon his training and experience that these types of devices are often time needed to be
taken to an off-site for examination because of the large volume of information stored. A comprehensive
forensic examination of this type of device may take days or even weeks. Affiant knows based upon his
                                                        11
         Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 69 of 70



training and experience that digital material on cellular smart phones have the capability of remaining on
devices designed to store them for an indefinite period of time including weeks, months, and years. Affiant also
knows based upon his training and experience that sometimes it is possible to retrieve material that has been
deleted from such devices through the use of forensic recovery programs.

Affiant knows that in order to completely and accurately retrieve data maintained in cellular smart phone multi-
media devices to ensure accuracy and completeness of such data, and to prevent the loss of the data either from
accidental or programmed destruction, it is necessary that the digital storage devices be examined/analyzed (and
often copied) by a qualified forensic specialist.

Affiant is therefore requesting that a forensic examination of the cellular telephone device as described above be
ordered and a search conducted for evidence tending to show that an unknown suspect engaged in criminal
activity, specifically one or more of the following offense(s): Murder, and that the forensic analyst/examiner
specifically search for items listed above.

If authorized to seize and search the above-described items/devices, the forensic analyst/examiner will conduct
the search within approved forensic guidelines that will safeguard the integrity of the original data on each
device.

WHEREFORE, PREMISES CONSIDERED, Affiant respectfully requests that a warrant issue authorizing
Affiant or any other Peace Officer of Fort Bend County, Texas, to search One (1) red Apple iPhone cell phone,
Model: XR. This cellular telephone is also referred to in this Affidavit as SUBJECT CELLULAR
TELEPHONE and includes all electronic data files contained within. The SUBJECT CELLULAR
TELEPHONE is currently located at or under the control of the Fort Bend County Sheriff's Office located at
1410 Richmond Parkway, Richmond, Fort Bend County, Texas; and to seize any records, files, instruments or
instrumentalities, and evidence tending to show suspect participation in the offense of Murder.

Affiant further seeks permission from the court to take and/or store SUBJECT CELLULAR TELEPHONE, to
any location within or outside of Fort Bend County, Texas, including taking the SUBJECT CELLULAR
TELEPHONE to an appropriate setting to be properly analyzed by a qualified person.




                                                                                      @
SWORN AND SUBSCRIBED TO BEFORE ME on this the                _:j__ day of ~ 2 1 .
                                                        7~                   ~
             FILED                                    JUDGE PRESIDING
                                                       4{eo~!STRICT COURT
                                                      FORT BEND COUNTY, TEXAS
                   APR 2 8 2022
          AT            3:oo e. M.
                   1,,J J;Jr /!:,.., Mu._ A'"\
                                                      -(um <,.i \<l/A.. C ~
                                                      PRINTED NAME OF JUDGE
           CLERK 6iSTRlof CO"URT, FORT BENO CO., TX
.                        Case 4:22-cv-04210 Document 33-1 Filed on 02/13/23 in TXSD Page 70 of 70



                                                  SEARCH WARRANT RETURN AND INVENTORY


           THE STATE OF TEXAS                                §

           COUNTY OF FORT BEND                               §

           268m JUDICIAL DISTRICT                            §

     (fr The undersigned Affiant, being a Peace Officer under the laws of the State of Texas, and being duly sworn, on
         ~ oath  certified that the f;?oing Warrant came to hand on the day it was issued and that it was executed on the
    '1                             b,
            -1::;H" day of Q a s ~l\<c"'2021, by making the search directed therein and by seizing during such search
           the following described property, retained by such Peace Officer, under the laws of the State of Texas, and kept,
           stored and held as hereinafter set out:
                              \):...~




                                                                 - H E R ARIAS, AFFIANT


           SWORN AND SUBSCRIBED TO BEFORE ME on this t h e ~ day of                      Av~ usf-

             .t~~~!:tt~        JOANNE K. SIEBRECHT               NOT   PUBLIC IN AND FOR THE STATE OF TEXAS
            tf(.A::{lii Notary Public, State of TIXH
             \~\)!Ill,.-._;,]
              -;:•>,·•·•"(tl,,-r~
                                  Comm. Explraa 05-19-2024
              ,,,,,8~,,,,,"     Notary ID 13248574•




                                        .-   '
